 Fill in this information to identify your case:
 United States Bankruptcy Court for the:
 MIDDLE DIST. OF PENNSYLVANIA

 Case number (if known):                                      Chapter you are filing under:
                                                                        Chapter 7
                                                                        Chapter 11
                                                                        Chapter 12
                                                                                                                               Check if this is an
                                                                        Chapter 13
                                                                                                                               amended filing



Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                  04/20

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case
together--called a joint case--and in joint cases, these forms use you to ask for information from both debtors. For example, if
a form asks, "Do you own a car," the answer would be yes if either debtor owns a car. When information is needed about the
spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish between them. In joint cases, one of the spouses
must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
your name and case number (if known). Answer every question.



 Part 1:       Identify Yourself
                                       About Debtor 1:                                        About Debtor 2 (Spouse Only in a Joint Case):
1.   Your full name
     Write the name that is on your
                                       James                                                  Susan
     government-issued picture
                                       First Name                                             First Name
     identification (for example,
     your driver's license or          Alfred Dale                                            Kay
     passport).                        Middle Name                                            Middle Name

                                       Buffington                                             Buffington
     Bring your picture                Last Name                                              Last Name
     identification to your meeting
     with the trustee.                 Suffix (Sr., Jr., II, III)                             Suffix (Sr., Jr., II, III)


2.   All other names you               James
     have used in the last 8           First Name                                             First Name
     years                             A
                                       Middle Name                                            Middle Name
     Include your married or
                                       Buffington
     maiden names.
                                       Last Name                                              Last Name


3.   Only the last 4 digits of
     your Social Security              xxx – xx –                   3        6       2    6   xxx – xx –                   6         2        5       1
     number or federal                 OR                                                     OR
     Individual Taxpayer
     Identification number             9xx – xx –                                             9xx – xx –
     (ITIN)




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Debtor 1     James Alfred Dale Buffington
Debtor 2     Susan Kay Buffington                                                          Case number (if known)

                                  About Debtor 1:                                              About Debtor 2 (Spouse Only in a Joint Case):

4.   Any business names                   I have not used any business names or EINs.                 I have not used any business names or EINs.
     and Employer
     Identification Numbers       DLD Associates
     (EIN) you have used in       Business name                                                Business name
     the last 8 years
                                  Business name                                                Business name
     Include trade names and
     doing business as names
                                  Business name                                                Business name

                                               –                                                           –
                                  EIN                                                          EIN

                                               –                                                           –
                                  EIN                                                          EIN
5.   Where you live                                                                            If Debtor 2 lives at a different address:

                                  35 Locust Court
                                  Number       Street                                          Number      Street




                                  Manchester                      PA       17345
                                  City                            State    ZIP Code            City                           State    ZIP Code

                                  York
                                  County                                                       County

                                  If your mailing address is different from                    If Debtor 2's mailing address is different
                                  the one above, fill it in here. Note that the                from yours, fill it in here. Note that the court
                                  court will send any notices to you at this                   will send any notices to you at this mailing
                                  mailing address.                                             address.



                                  Number       Street                                          Number      Street


                                  P.O. Box                                                     P.O. Box


                                  City                            State    ZIP Code            City                           State    ZIP Code


6.   Why you are choosing         Check one:                                                   Check one:
     this district to file for
     bankruptcy                           Over the last 180 days before filing this                   Over the last 180 days before filing this
                                          petition, I have lived in this district longer              petition, I have lived in this district longer
                                          than in any other district.                                 than in any other district.

                                          I have another reason. Explain.                             I have another reason. Explain.
                                          (See 28 U.S.C. § 1408.)                                     (See 28 U.S.C. § 1408.)


 Part 2:       Tell the Court About Your Bankruptcy Case

7.   The chapter of the          Check one: (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing
     Bankruptcy Code you         for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
     are choosing to file
     under                               Chapter 7

                                         Chapter 11

                                         Chapter 12

                                         Chapter 13



Official Form 101                        Voluntary Petition for Individuals Filing for Bankruptcy                                                      page 2
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Debtor 1     James Alfred Dale Buffington
Debtor 2     Susan Kay Buffington                                                   Case number (if known)

8.   How you will pay the fee         I will pay the entire fee when I file my petition. Please check with the clerk's office in your local
                                      court for more details about how you may pay. Typically, if you are paying the fee yourself, you may
                                      pay with cash, cashier's check, or money order. If your attorney is submitting your payment on your
                                      behalf, your attorney may pay with a credit card or check with a pre-printed address.

                                      I need to pay the fee in installments. If you choose this option, sign and attach the Application for
                                      Individuals to Pay The Filing Fee in Installments (Official Form 103A).

                                      I request that my fee be waived (You may request this option only if you are filing for Chapter 7.
                                      By law, a judge may, but is not required to, waive your fee, and may do so only if your income is less
                                      than 150% of the official poverty line that applies to your family size and you are unable to pay the
                                      fee in installments). If you choose this option, you must fill out the Application to Have the Chapter 7
                                      Filing Fee Waived (Official Form 103B) and file it with your petition.


9.   Have you filed for               No
     bankruptcy within the
     last 8 years?                    Yes.

                                 District MD of PA (Ch 13 Dismissed)                    When 03/12/2015         Case number 1:15-bk-00954
                                                                                               MM / DD / YYYY
                                 District                                               When                    Case number
                                                                                               MM / DD / YYYY
                                 District                                               When                    Case number
                                                                                               MM / DD / YYYY

10. Are any bankruptcy                No
    cases pending or being
    filed by a spouse who is          Yes.
    not filing this case with
                                 Debtor                                                             Relationship to you
    you, or by a business
    partner, or by an            District                                               When                    Case number,
    affiliate?                                                                                 MM / DD / YYYY   if known


                                 Debtor                                                             Relationship to you

                                 District                                               When                    Case number,
                                                                                               MM / DD / YYYY   if known

11. Do you rent your                  No.    Go to line 12.
    residence?                        Yes. Has your landlord obtained an eviction judgment against you?

                                                  No. Go to line 12.
                                                  Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A)
                                                  and file it as part of this bankruptcy petition.




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Debtor 1     James Alfred Dale Buffington
Debtor 2     Susan Kay Buffington                                                      Case number (if known)


 Part 3:      Report About Any Businesses You Own as a Sole Proprietor

12. Are you a sole proprietor             No. Go to Part 4.
    of any full- or part-time             Yes. Name and location of business
    business?

    A sole proprietorship is a
                                                Name of business, if any
    business you operate as an
    individual, and is not a
    separate legal entity such as               Number     Street
    a corporation, partnership, or
    LLC.

    If you have more than one                   City                                                    State           ZIP Code
    sole proprietorship, use a
    separate sheet and attach it                Check the appropriate box to describe your business:
    to this petition.
                                                       Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                       Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                       Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                       Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                       None of the above

13. Are you filing under             If you are filing under Chapter 11, the court must know whether you are a small business debtor or a debtor
    Chapter 11 of the                choosing to proceed under Subchapter V so that it can set appropriate deadlines. If you indicate that you
    Bankruptcy Code, and             are a small business debtor or you are choosing to proceed under Subchapter V, you must attach your
    are you a small business         most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return
    debtor or a debtor as            or if any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
    defined by 11 U.S.C.
    § 1182(1)?                            No.   I am not filing under Chapter 11.
    For a definition of small
                                          No.   I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in
    business debtor, see
                                                the Bankruptcy Code.
    11 U.S.C. § 101(51D).
                                          Yes. I am filing under Chapter 11, I am a small business debtor according to the definition in the
                                               Bankruptcy Code, and I do not choose to proceed under Subchapter V of Chapter 11.

                                          Yes. I am filing under Chapter 11, I am a debtor according to the definition in § 1182(1) of the
                                               Bankruptcy Code, and I choose to proceed under Subchapter V of Chapter 11.


 Part 4:      Report If You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14. Do you own or have any                No
    property that poses or is             Yes. What is the hazard?
    alleged to pose a threat of
    imminent and identifiable
    hazard to public health or
    safety? Or do you own
    any property that needs                     If immediate attention is needed, why is it needed?
    immediate attention?

    For example, do you own
    perishable goods, or
    livestock that must be fed, or              Where is the property?
    a building that needs urgent                                           Number   Street
    repairs?



                                                                           City                                     State          ZIP Code




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Debtor 1     James Alfred Dale Buffington
Debtor 2     Susan Kay Buffington                                                        Case number (if known)


 Part 5:       Explain Your Efforts to Receive a Briefing About Credit Counseling
15. Tell the court          About Debtor 1:                                              About Debtor 2 (Spouse Only in a Joint Case):
    whether you             You must check one:                                          You must check one:
    have received a           I received a briefing from an approved credit                I received a briefing from an approved credit
    briefing about            counseling agency within the 180 days before I               counseling agency within the 180 days before I
    credit                    filed this bankruptcy petition, and I received a             filed this bankruptcy petition, and I received a
    counseling.               certificate of completion.                                   certificate of completion.
                               Attach a copy of the certificate and the payment             Attach a copy of the certificate and the payment
    The law requires           plan, if any, that you developed with the agency.            plan, if any, that you developed with the agency.
    that you receive a
                               I received a briefing from an approved credit                I received a briefing from an approved credit
    briefing about credit
                               counseling agency within the 180 days before I               counseling agency within the 180 days before I
    counseling before
                               filed this bankruptcy petition, but I do not have            filed this bankruptcy petition, but I do not have
    you file for
                               a certificate of completion.                                 a certificate of completion.
    bankruptcy. You
    must truthfully            Within 14 days after you file this bankruptcy petition,      Within 14 days after you file this bankruptcy petition,
    check one of the           you MUST file a copy of the certificate and payment          you MUST file a copy of the certificate and payment
    following choices.         plan, if any.                                                plan, if any.
    If you cannot do so,       I certify that I asked for credit counseling                 I certify that I asked for credit counseling
    you are not eligible       services from an approved agency, but was                    services from an approved agency, but was
    to file.                   unable to obtain those services during the 7                 unable to obtain those services during the 7
                               days after I made my request, and exigent                    days after I made my request, and exigent
    If you file anyway,        circumstances merit a 30-day temporary                       circumstances merit a 30-day temporary
    the court can              waiver of the requirement.                                   waiver of the requirement.
    dismiss your case,
    you will lose              To ask for a 30-day temporary waiver of the                  To ask for a 30-day temporary waiver of the
    whatever filing fee        requirement, attach a separate sheet explaining what         requirement, attach a separate sheet explaining what
    you paid, and your         efforts you made to obtain the briefing, why you             efforts you made to obtain the briefing, why you
    creditors can begin        were unable to obtain it before you filed for                were unable to obtain it before you filed for
    collection activities      bankruptcy, and what exigent circumstances                   bankruptcy, and what exigent circumstances
    again.                     required you to file this case.                              required you to file this case.

                               Your case may be dismissed if the court is                   Your case may be dismissed if the court is
                               dissatisfied with your reasons for not receiving a           dissatisfied with your reasons for not receiving a
                               briefing before you filed for bankruptcy.                    briefing before you filed for bankruptcy.

                               If the court is satisfied with your reasons, you must        If the court is satisfied with your reasons, you must
                               still receive a briefing within 30 days after you file.      still receive a briefing within 30 days after you file.
                               You must file a certificate from the approved agency,        You must file a certificate from the approved agency,
                               along with a copy of the payment plan you                    along with a copy of the payment plan you
                               developed, if any. If you do not do so, your case            developed, if any. If you do not do so, your case
                               may be dismissed.                                            may be dismissed.

                               Any extension of the 30-day deadline is granted only         Any extension of the 30-day deadline is granted only
                               for cause and is limited to a maximum of 15 days.            for cause and is limited to a maximum of 15 days.

                               I am not required to receive a briefing about                I am not required to receive a briefing about
                               credit counseling because of:                                credit counseling because of:
                                   Incapacity.    I have a mental illness or a mental           Incapacity.    I have a mental illness or a mental
                                                  deficiency that makes me                                     deficiency that makes me
                                                  incapable of realizing or making                             incapable of realizing or making
                                                  rational decisions about finances.                           rational decisions about finances.
                                   Disability.    My physical disability causes me              Disability.    My physical disability causes me
                                                  to be unable to participate in a                             to be unable to participate in a
                                                  briefing in person, by phone, or                             briefing in person, by phone, or
                                                  through the internet, even after I                           through the internet, even after I
                                                  reasonably tried to do so.                                   reasonably tried to do so.
                                   Active duty. I am currently on active military               Active duty. I am currently on active military
                                                duty in a military combat zone.                              duty in a military combat zone.
                               If you believe you are not required to receive a             If you believe you are not required to receive a
                               briefing about credit counseling, you must file a            briefing about credit counseling, you must file a
                               motion for waiver of credit counseling with the court.       motion for waiver of credit counseling with the court.


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Debtor 1     James Alfred Dale Buffington
Debtor 2     Susan Kay Buffington                                                      Case number (if known)


 Part 6:      Answer These Questions for Reporting Purposes
16. What kind of debts do you      16a.    Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
    have?                                  as "incurred by an individual primarily for a personal, family, or household purpose."
                                                 No. Go to line 16b.
                                                 Yes. Go to line 17.

                                   16b.    Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                           money for a business or investment or through the operation of the business or investment.
                                                No. Go to line 16c.
                                                Yes. Go to line 17.

                                   16c.    State the type of debts you owe that are not consumer or business debts.


17. Are you filing under
    Chapter 7?                            No.   I am not filing under Chapter 7. Go to line 18.

    Do you estimate that after            Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
    any exempt property is                     administrative expenses are paid that funds will be available to distribute to unsecured creditors?
    excluded and
    administrative expenses                          No
    are paid that funds will be
                                                     Yes
    available for distribution
    to unsecured creditors?

18. How many creditors do                 1-49                             1,000-5,000                        25,001-50,000
    you estimate that you                 50-99                            5,001-10,000                       50,001-100,000
    owe?                                  100-199                          10,001-25,000                      More than 100,000
                                          200-999

19. How much do you                       $0-$50,000                       $1,000,001-$10 million             $500,000,001-$1 billion
    estimate your assets to               $50,001-$100,000                 $10,000,001-$50 million            $1,000,000,001-$10 billion
    be worth?                             $100,001-$500,000                $50,000,001-$100 million           $10,000,000,001-$50 billion
                                          $500,001-$1 million              $100,000,001-$500 million          More than $50 billion

20. How much do you                       $0-$50,000                       $1,000,001-$10 million             $500,000,001-$1 billion
    estimate your liabilities to          $50,001-$100,000                 $10,000,001-$50 million            $1,000,000,001-$10 billion
    be?                                   $100,001-$500,000                $50,000,001-$100 million           $10,000,000,001-$50 billion
                                          $500,001-$1 million              $100,000,001-$500 million          More than $50 billion




Official Form 101                         Voluntary Petition for Individuals Filing for Bankruptcy                                        page 6
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Debtor 1     James Alfred Dale Buffington
Debtor 2     Susan Kay Buffington                                                     Case number (if known)


 Part 7:      Sign Below
For you                          I have examined this petition, and I declare under penalty of perjury that the information provided is true
                                 and correct.

                                 If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11, 12,
                                 or 13 of title 11, United States Code. I understand the relief available under each chapter, and I choose to
                                 proceed under Chapter 7.

                                 If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me
                                 fill out this document, I have obtained and read the notice required by 11 U.S.C. § 342(b).

                                 I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

                                 I understand making a false statement, concealing property, or obtaining money or property by fraud in
                                 connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years,
                                 or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                                 X /s/ James Alfred Dale Buffington                          X /s/ Susan Kay Buffington
                                    James Alfred Dale Buffington, Debtor 1                      Susan Kay Buffington, Debtor 2

                                    Executed on                                                 Executed on
                                                  MM / DD / YYYY                                               MM / DD / YYYY




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Debtor 2     Susan Kay Buffington                                                    Case number (if known)

For your attorney, if you are    I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about
represented by one               eligibility to proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the
                                 relief available under each chapter for which the person is eligible. I also certify that I have delivered to
If you are not represented by    the debtor(s) the notice required by 11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies,
an attorney, you do not need     certify that I have no knowledge after an inquiry that the information in the schedules filed with the petition
to file this page.               is incorrect.



                                 X /s/ Dorothy L Mott, Esquire                                         Date
                                    Signature of Attorney for Debtor                                          MM / DD / YYYY


                                    Dorothy L Mott, Esquire
                                    Printed name
                                    Dorothy L. Mott, Attorney at Law
                                    Firm Name
                                    125 State Street
                                    Number          Street




                                    Harrisburg                                                 PA              17101
                                    City                                                       State           ZIP Code


                                    Contact phone (717) 232-6650                     Email address doriemott@aol.com


                                    43568
                                    Bar number                                                 State




Official Form 101                      Voluntary Petition for Individuals Filing for Bankruptcy                                            page 8
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 Fill in this information to identify your case and this filing:
 Debtor 1               James                    Alfred Dale              Buffington
                        First Name               Middle Name              Last Name

 Debtor 2            Susan                       Kay                      Buffington
 (Spouse, if filing) First Name                  Middle Name              Last Name


 United States Bankruptcy Court for the: MIDDLE DIST. OF PENNSYLVANIA

 Case number
                                                                                                                                    Check if this is an
 (if known)
                                                                                                                                    amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                       12/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list
the asset in the category where you think it fits best. Be as complete and accurate as possible. If two married people are
filing together, both are equally responsible for supplying correct information. If more space is needed, attach a separate
sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


 Part 1:          Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1.     Do you own or have any legal or equitable interest in any residence, building, land, or similar property?
            No. Go to Part 2.
            Yes. Where is the property?

1.1.                                                     What is the property?                               Do not deduct secured claims or exemptions. Put the
35 Locust Court, Manchester, PA                          Check all that apply.                               amount of any secured claims on Schedule D:
17345                                                         Single-family home                             Creditors Who Have Claims Secured by Property.
Purchase price 11/1992 $112,000                               Duplex or multi-unit building                  Current value of the            Current value of the
                                                              Condominium or cooperative                     entire property?                portion you own?
Recent Sales:                                                 Manufactured or mobile home                                $190,000.00                  $190,000.00
80 Ivy Dr sold 05/21/19 $190,000                              Land
90 Ivy Dr sold 02/08/19 $179,900                              Investment property                            Describe the nature of your ownership
20 Locust Ct sold 08/08/18 $179,900                           Timeshare                                      interest (such as fee simple, tenancy by the
110 Hazel Dr sold 04/04/18 $185,000                                                                          entireties, or a life estate), if known.
                                                              Other
                                                                                                             Tenant by the entireties
                                                         Who has an interest in the property?
York                                                     Check one.
County
                                                              Debtor 1 only                                       Check if this is community property
                                                              Debtor 2 only                                       (see instructions)
                                                              Debtor 1 and Debtor 2 only
                                                              At least one of the debtors and another

                                                         Other information you wish to add about this item, such as local
                                                         property identification number:

2.     Add the dollar value of the portion you own for all of your entries from Part 1, including any
       entries for pages you have attached for Part 1. Write that number here.............................................................            $190,000.00




Official Form 106A/B                                                   Schedule A/B: Property                                                                page 1
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Debtor 1         James Alfred Dale Buffington
Debtor 2         Susan Kay Buffington                                                                Case number (if known)


 Part 2:          Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.


3.   Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

           No
           Yes

3.1.                                                   Who has an interest in the property?                Do not deduct secured claims or exemptions. Put the
Make:                      Dodge                       Check one.                                          amount of any secured claims on Schedule D:
                                                            Debtor 1 only                                  Creditors Who Have Claims Secured by Property.
Model:                     Grand Caravan
                                                            Debtor 2 only                           Current value of the                   Current value of the
Year:                      2012                                                                     entire property?                       portion you own?
                                                            Debtor 1 and Debtor 2 only
Approximate mileage: 120,000                                At least one of the debtors and another             $2,895.00                             $2,895.00
Other information:
2012 Dodge Grand Caravan silver                             Check if this is community property
(approx. 120,000 miles)                                     (see instructions)
4.   Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
     Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
           No
           Yes

5.   Add the dollar value of the portion you own for all of your entries from Part 2, including any
     entries for pages you have attached for Part 2. Write that number here.............................................................              $2,895.00


 Part 3:          Describe Your Personal and Household Items
                                                                                                                                           Current value of the
Do you own or have any legal or equitable interest in any of the following items?
                                                                                                                                           portion you own?
                                                                                                                                           Do not deduct secured
                                                                                                                                           claims or exemptions.

6.   Household goods and furnishings
     Examples: Major appliances, furniture, linens, china, kitchenware
           No
           Yes. Describe............
                               3 beds, 4 dressers, 2 sofas, dining table and chairs, kitchen table and chairs,                                          $850.00
                                china closet, stove, refrigerator, microwave, washer, dryer, dishwasher, end
                                table, vacuum, 7 lamps, pots, pans, dishes, linens, misc household goods

7.   Electronics
     Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners;
                music collections; electronic devices including cell phones, cameras, media players, games
           No
           Yes. Describe............
                               tv, computer, cell phone                                                                                                 $100.00


8.   Collectibles of value
     Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
                stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
           No
           Yes. Describe............




Official Form 106A/B                                                 Schedule A/B: Property                                                                page 2
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Debtor 2          Susan Kay Buffington                                                                                               Case number (if known)

9.    Equipment for sports and hobbies
      Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis;
                canoes and kayaks; carpentry tools; musical instruments
            No
            Yes. Describe............


10. Firearms
    Examples: Pistols, rifles, shotguns, ammunition, and related equipment
            No
            Yes. Describe............


11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
            No
            Yes. Describe............
                                See continuation page(s).                                                                                                                                                    $500.00


12. Jewelry
    Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
              gold, silver
            No
            Yes. Describe............
                                See continuation page(s).                                                                                                                                                $1,025.00

13. Non-farm animals
    Examples: Dogs, cats, birds, horses
            No
            Yes. Describe............
                                Cairn Terrier, Shorkie                                                                                                                                                           $0.00


14. Any other personal and household items you did not already list, including any health aids you
    did not list
            No
            Yes. Give specific
            information......................


15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have
    attached for Part 3. Write the number here.......................................................................................................................                                    $2,475.00


  Part 4:           Describe Your Financial Assets
                                                                                                                                                                                        Current value of the
Do you own or have any legal or equitable interest in any of the following?
                                                                                                                                                                                        portion you own?
                                                                                                                                                                                        Do not deduct secured
                                                                                                                                                                                        claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your
              petition
            No
            Yes.....................................................................................................................................................................................................
                                                                                                                                                     Cash: ...........................................               $10.00




Official Form 106A/B                                                                       Schedule A/B: Property                                                                                                  page 3
        Case 1:20-bk-02687-HWV                                          Doc 1 Filed 09/09/20 Entered 09/09/20 16:23:13                                                                                   Desc
                                                                       Main Document    Page 11 of 74
Debtor 1         James Alfred Dale Buffington
Debtor 2         Susan Kay Buffington                                                                 Case number (if known)

17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions,
              brokerage houses, and other similar institutions. If you have multiple accounts with the same
              institution, list each.

           No
           Yes..............................             Institution name:

            17.1.       Other financial account: Social Security debit card                                                                         $0.00
18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
           No
           Yes.............................. Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including
    an interest in an LLC, partnership, and joint venture
           No
           Yes. Give specific
           information about
           them...............................................
                                              Name of entity:                                                     % of ownership:
20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers' checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
           No
           Yes. Give specific
           information about
           them...............................................
                                              Issuer name:
21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or
              profit-sharing plans
           No
           Yes. List each
           account separately.             Type of account:          Institution name:
22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
    companies, or others

           No
           Yes..............................                      Institution name or individual:
23. Annuities (A contract for a specific periodic payment of money to you, either for life or for a number of years)
       No
       Yes.............................. Issuer name and description:
24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
           No
           Yes.............................. Institution name and description. Separately file the records of any interests. 11 U.S.C. § 521(c)
25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or
    powers exercisable for your benefit
           No
           Yes. Give specific
           information about them

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property;
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
           No
           Yes. Give specific
           information about them


Official Form 106A/B                                                         Schedule A/B: Property                                                  page 4
      Case 1:20-bk-02687-HWV                                      Doc 1 Filed 09/09/20 Entered 09/09/20 16:23:13                                  Desc
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Debtor 1        James Alfred Dale Buffington
Debtor 2        Susan Kay Buffington                                                           Case number (if known)

27. Licenses, franchises, and other general intangibles
    Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
           No
           Yes. Give specific
           information about them

Money or property owed to you?                                                                                                     Current value of the
                                                                                                                                   portion you own?
                                                                                                                                   Do not deduct secured
                                                                                                                                   claims or exemptions.

28. Tax refunds owed to you

           No
           Yes. Give specific information                                                                               Federal:
           about them, including whether
           you already filed the returns                                                                                State:
           and the tax years.....................................
                                                                                                                        Local:

29. Family support
    Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
           No
           Yes. Give specific information                                                                  Alimony:

                                                                                                           Maintenance:

                                                                                                           Support:

                                                                                                           Divorce settlement:

                                                                                                           Property settlement:

30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers'
              compensation, Social Security benefits; unpaid loans you made to someone else
           No
           Yes. Give specific information


31. Interests in insurance policies
    Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner's, or renter's insurance
           No
           Yes. Name the insurance
           company of each policy
           and list its value................     Company name:                            Beneficiary:                      Surrender or refund value:
32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently
    entitled to receive property because someone has died
           No
           Yes. Give specific information


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
           No
           Yes. Describe each claim..............




Official Form 106A/B                                                  Schedule A/B: Property                                                       page 5
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Debtor 1         James Alfred Dale Buffington
Debtor 2         Susan Kay Buffington                                                                                Case number (if known)

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and
    rights to set off claims
            No
            Yes. Describe each claim..............


35. Any financial assets you did not already list

            No
            Yes. Give specific information


36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have
    attached for Part 4. Write that number here.......................................................................................................................         $10.00


  Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?

            No. Go to Part 6.
            Yes. Go to line 38.

                                                                                                                                                                 Current value of the
                                                                                                                                                                 portion you own?
                                                                                                                                                                 Do not deduct secured
                                                                                                                                                                 claims or exemptions.
38. Accounts receivable or commissions you already earned

            No
            Yes. Describe................


39. Office equipment, furnishings, and supplies
    Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones,
               desks, chairs, electronic devices
            No
            Yes. Describe................


40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

            No
            Yes. Describe................


41. Inventory

            No
            Yes. Describe................


42. Interests in partnerships or joint ventures

            No
            Yes. Describe................
                                Name of entity:                                                                                       % of ownership:

43. Customer lists, mailing lists, or other compilations

            No
            Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
                    No
                    Yes. Describe..............




Official Form 106A/B                                                            Schedule A/B: Property                                                                           page 6
        Case 1:20-bk-02687-HWV                                   Doc 1 Filed 09/09/20 Entered 09/09/20 16:23:13                                                            Desc
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Debtor 1          James Alfred Dale Buffington
Debtor 2          Susan Kay Buffington                                                                               Case number (if known)

44. Any business-related property you did not already list

            No
            Yes. Give specific information.

45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have
    attached for Part 5. Write that number here.......................................................................................................................          $0.00


  Part 6: Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
                If you own or have an interest in farmland, list it in Part 1.

46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?

            No. Go to Part 7.
            Yes. Go to line 47.

                                                                                                                                                                 Current value of the
                                                                                                                                                                 portion you own?
                                                                                                                                                                 Do not deduct secured
                                                                                                                                                                 claims or exemptions.
47. Farm animals
    Examples: Livestock, poultry, farm-raised fish
            No
            Yes............................


48. Crops--either growing or harvested

            No
            Yes. Give specific
            information..........................

49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade

            No
            Yes..............................


50. Farm and fishing supplies, chemicals, and feed

            No
            Yes..............................


51. Any farm- and commercial fishing-related property you did not already list

            No
            Yes. Give specific
            information..........................

52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have
    attached for Part 6. Write that number here.......................................................................................................................          $0.00




Official Form 106A/B                                                            Schedule A/B: Property                                                                           page 7
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Debtor 1           James Alfred Dale Buffington
Debtor 2           Susan Kay Buffington                                                                                       Case number (if known)


  Part 7: Describe All Property You Own or Have an Interest in That You Did Not List Above

53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership

             No
             Yes. Give specific information.


54. Add the dollar value of all of your entries from Part 7. Write that number here.................................................                                                          $0.00


  Part 8: List the Totals of Each Part of this Form

55. Part 1: Total real estate, line 2..............................................................................................................................................   $190,000.00

56. Part 2: Total vehicles, line 5                                                                                    $2,895.00

57. Part 3: Total personal and household items, line 15                                                               $2,475.00

58. Part 4: Total financial assets, line 36                                                                                $10.00

59. Part 5: Total business-related property, line 45                                                                         $0.00

60. Part 6: Total farm- and fishing-related property, line 52                                                                $0.00

61. Part 7: Total other property not listed, line 54                                               +                         $0.00

                                                                                                                                            Copy personal
62. Total personal property.                   Add lines 56 through 61.................................               $5,380.00             property total                 +            $5,380.00



63. Total of all property on Schedule A/B.                                                                                                                                                  $195,380.00
                                                                    Add line 55 + line 62.......................................................................................................




Official Form 106A/B                                                                  Schedule A/B: Property                                                                                   page 8
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Debtor 1    James Alfred Dale Buffington
Debtor 2    Susan Kay Buffington                                           Case number (if known)


11. Clothes (details):

    Clothing                                                                                         $250.00

    Clothing                                                                                         $250.00

12. Jewelry (details):

    Wedding band                                                                                      $25.00

    Diamond and wedding band, gold ring, costume jewelry                                            $1,000.00




Official Form 106A/B                              Schedule A/B: Property                                page 9
      Case 1:20-bk-02687-HWV                Doc 1 Filed 09/09/20 Entered 09/09/20 16:23:13          Desc
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 Fill in this information to identify your case:
 Debtor 1            James                Alfred Dale            Buffington
                     First Name           Middle Name            Last Name
 Debtor 2            Susan                Kay                    Buffington
 (Spouse, if filing) First Name           Middle Name            Last Name

 United States Bankruptcy Court for the: MIDDLE DIST. OF PENNSYLVANIA
                                                                                                                     Check if this is an
 Case number                                                                                                         amended filing
 (if known)

Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                  04/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages,
write your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so
is to state a specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being
exempted up to the amount of any applicable statutory limit. Some exemptions--such as those for health aids, rights to
receive certain benefits, and tax-exempt retirement funds--may be unlimited in dollar amount. However, if you claim an
exemption of 100% of fair market value under a law that limits the exemption to a particular dollar amount and the value of the
property is determined to exceed that amount, your exemption would be limited to the applicable statutory amount.


 Part 1:        Identify the Property You Claim as Exempt

1.   Which set of exemptions are you claiming?             Check one only, even if your spouse is filing with you.
          You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
          You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

2.   For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

Brief description of the property and line on           Current value of     Amount of the                Specific laws that allow exemption
Schedule A/B that lists this property                   the portion you      exemption you claim
                                                        own
                                                        Copy the value from Check only one box for
                                                        Schedule A/B        each exemption


Brief description:                                        $190,000.00                     $0.00           11 U.S.C. § 522(d)(1)
35 Locust Court, Manchester, PA 17345                                             100% of fair market
Purchase price 11/1992 $112,000                                                   value, up to any
                                                                                  applicable statutory
Recent Sales:                                                                     limit
80 Ivy Dr sold 05/21/19 $190,000
90 Ivy Dr sold 02/08/19 $179,900
20 Locust Ct sold 08/08/18 $179,900
110 Hazel Dr sold 04/04/18 $185,000
Line from Schedule A/B:  1.1




3.   Are you claiming a homestead exemption of more than $170,350?
     (Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)

          No
          Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
              No
              Yes

Official Form 106C                               Schedule C: The Property You Claim as Exempt                                                 page 1

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Debtor 1      James Alfred Dale Buffington
Debtor 2      Susan Kay Buffington                                                   Case number (if known)

 Part 2:        Additional Page
Brief description of the property and line on       Current value of    Amount of the               Specific laws that allow exemption
Schedule A/B that lists this property               the portion you     exemption you claim
                                                    own
                                                    Copy the value from Check only one box for
                                                    Schedule A/B        each exemption

Brief description:                                      $2,895.00                   $0.00           11 U.S.C. § 522(d)(2)
2012 Dodge Grand Caravan (approx.                                            100% of fair market
120,000 miles)                                                               value, up to any
2012 Dodge Grand Caravan silver (approx.                                     applicable statutory
120,000 miles)                                                               limit
Line from Schedule A/B: 3.1

Brief description:                                       $850.00                  $850.00           11 U.S.C. § 522(d)(3)
3 beds, 4 dressers, 2 sofas, dining table                                    100% of fair market
and chairs, kitchen table and chairs, china                                  value, up to any
closet, stove, refrigerator, microwave,                                      applicable statutory
washer, dryer, dishwasher, end table,                                        limit
vacuum, 7 lamps, pots, pans, dishes,
linens, misc household goods
Line from Schedule A/B:   6

Brief description:                                       $100.00                  $100.00           11 U.S.C. § 522(d)(3)
tv, computer, cell phone                                                     100% of fair market
                                                                             value, up to any
Line from Schedule A/B:     7
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $250.00                  $250.00           11 U.S.C. § 522(d)(3)
Clothing                                                                     100% of fair market
                                                                             value, up to any
Line from Schedule A/B:    11
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $250.00                  $250.00           11 U.S.C. § 522(d)(3)
Clothing                                                                     100% of fair market
                                                                             value, up to any
Line from Schedule A/B:    11
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $25.00                    $25.00           11 U.S.C. § 522(d)(4)
Wedding band                                                                 100% of fair market
                                                                             value, up to any
Line from Schedule A/B:    12
                                                                             applicable statutory
                                                                             limit

Brief description:                                      $1,000.00                $1,000.00          11 U.S.C. § 522(d)(4)
Diamond and wedding band, gold ring,                                         100% of fair market
costume jewelry                                                              value, up to any
Line from Schedule A/B: 12                                                   applicable statutory
                                                                             limit

Brief description:                                       $10.00                    $10.00           11 U.S.C. § 522(d)(5)
Cash on hand                                                                 100% of fair market
                                                                             value, up to any
Line from Schedule A/B:    16
                                                                             applicable statutory
                                                                             limit




Official Form 106C                              Schedule C: The Property You Claim as Exempt                                         page 2

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Debtor 1      James Alfred Dale Buffington
Debtor 2      Susan Kay Buffington                                                   Case number (if known)

 Part 2:        Additional Page
Brief description of the property and line on       Current value of    Amount of the               Specific laws that allow exemption
Schedule A/B that lists this property               the portion you     exemption you claim
                                                    own
                                                    Copy the value from Check only one box for
                                                    Schedule A/B        each exemption

Brief description:                                        $0.00                     $0.00           11 U.S.C. § 522(d)(5)
Social Security debit card                                                   100% of fair market
                                                                             value, up to any
Line from Schedule A/B:   17.1
                                                                             applicable statutory
                                                                             limit




Official Form 106C                              Schedule C: The Property You Claim as Exempt                                         page 3

       Case 1:20-bk-02687-HWV                    Doc 1 Filed 09/09/20 Entered 09/09/20 16:23:13                                Desc
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  Fill in this information to identify your case:
  Debtor 1             James                 Alfred Dale            Buffington
                       First Name            Middle Name            Last Name

  Debtor 2            Susan                  Kay                    Buffington
  (Spouse, if filing) First Name             Middle Name            Last Name


  United States Bankruptcy Court for the: MIDDLE DIST. OF PENNSYLVANIA

  Case number
                                                                                                                       Check if this is an
  (if known)
                                                                                                                       amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                        12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form.
On the top of any additional pages, write your name and case number (if known).


1.      Do any creditors have claims secured by your property?
             No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
             Yes. Fill in all of the information below.


  Part 1:         List All Secured Claims

2.      List all secured claims. If a creditor has more than one secured
        claim, list the creditor separately for each claim. If more than one             Column A               Column B               Column C
        creditor has a particular claim, list the other creditors in Part 2. As          Amount of claim        Value of collateral    Unsecured
        much as possible, list the claims in alphabetical order according to the         Do not deduct the      that supports this     portion
        creditor's name.                                                                 value of collateral    claim                  If any

  2.1                                            Describe the property that
                                                 secures the claim:                                $450.00            $190,000.00              $450.00
GREENFIELD VILLAGE HOA                           35 Locust Court, Manchester,
Creditor's name
PO BOX 165                                       PA 17345
Number       Street


                                                 As of the date you file, the claim is: Check all that apply.
                                                     Contingent
MANCHESTER               PA      17345               Unliquidated
City                     State   ZIP Code
                                                     Disputed
Who owes the debt? Check one.              Nature of lien. Check all that apply.
   Debtor 1 only
                                              An agreement you made (such as mortgage or secured car loan)
   Debtor 2 only
                                              Statutory lien (such as tax lien, mechanic's lien)
   Debtor 1 and Debtor 2 only
                                              Judgment lien from a lawsuit
   At least one of the debtors and another
                                              Other (including a right to offset)
   Check if this claim relates                Association fees
   to a community debt
Date debt was incurred           2020            Last 4 digits of account number




Add the dollar value of your entries in Column A on this page. Write
that number here:                                                                                  $450.00

Official Form 106D           Schedule D: Creditors Who Have Claims Secured by Property
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Debtor 2      Susan Kay Buffington                                                        Case number (if known)

                  Additional Page                                                     Column A               Column B              Column C
  Part 1:                                                                             Amount of claim        Value of collateral   Unsecured
                  After listing any entries on this page, number them
                                                                                      Do not deduct the      that supports this    portion
                  sequentially from the previous page.
                                                                                      value of collateral    claim                 If any

  2.2                                         Describe the property that
                                              secures the claim:                               $8,558.34           $190,000.00         $8,558.34
HUD HEADQUARTERS
Creditor's name
                                              35 Locust Court, Manchester,
BANKRUPTCY NOTICES                            PA 17345
Number     Street
451 7TH STREET SW
                                              As of the date you file, the claim is: Check all that apply.
                                                  Contingent
WASHINGTON              DC      20410             Unliquidated
City                    State   ZIP Code
                                                  Disputed
Who owes the debt? Check one.              Nature of lien. Check all that apply.
   Debtor 1 only
                                              An agreement you made (such as mortgage or secured car loan)
   Debtor 2 only
                                              Statutory lien (such as tax lien, mechanic's lien)
   Debtor 1 and Debtor 2 only
                                              Judgment lien from a lawsuit
   At least one of the debtors and another
                                              Other (including a right to offset)
   Check if this claim relates                2nd Mortgage
   to a community debt
Date debt was incurred          12/18/08      Last 4 digits of account number

  2.3                                         Describe the property that
                                              secures the claim:                               $3,527.74           $190,000.00         $3,527.74
NORTHEASTERN SEWER AUTHORITY35 Locust Court, Manchester,
Creditor's name
175 CHESTNUT STREET                           PA 17345
Number     Street


                                              As of the date you file, the claim is: Check all that apply.
                                                  Contingent
MOUNT WOLF              PA      17347             Unliquidated
City                    State   ZIP Code
                                                  Disputed
Who owes the debt? Check one.              Nature of lien. Check all that apply.
   Debtor 1 only
                                              An agreement you made (such as mortgage or secured car loan)
   Debtor 2 only
                                              Statutory lien (such as tax lien, mechanic's lien)
   Debtor 1 and Debtor 2 only
                                              Judgment lien from a lawsuit
   At least one of the debtors and another
                                              Other (including a right to offset)
   Check if this claim relates                Municipal Services
   to a community debt
Date debt was incurred          2020          Last 4 digits of account number        0     0    2    3




Add the dollar value of your entries in Column A on this page. Write
that number here:                                                                           $12,086.08

Official Form 106D    Additional Page of Schedule D: Creditors Who Have Claims Secured by Property
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Debtor 1      James Alfred Dale Buffington
Debtor 2      Susan Kay Buffington                                                        Case number (if known)

                  Additional Page                                                     Column A               Column B              Column C
  Part 1:                                                                             Amount of claim        Value of collateral   Unsecured
                  After listing any entries on this page, number them
                                                                                      Do not deduct the      that supports this    portion
                  sequentially from the previous page.
                                                                                      value of collateral    claim                 If any

  2.4                                         Describe the property that
                                              secures the claim:                            $26,056.00                $2,895.00       $23,161.00
REGIONAL ACCEPTANCE CORP
Creditor's name
                                              2012 Dodge Grand Caravan
BANKRUPTCY DEPT                               crew 60,000 miles
Number     Street
1420-C EAST FIRE TOWER ROAD
                                              As of the date you file, the claim is: Check all that apply.
                                                  Contingent
GREENVILLE              NC      27858             Unliquidated
City                    State   ZIP Code
                                                  Disputed
Who owes the debt? Check one.              Nature of lien. Check all that apply.
   Debtor 1 only
                                              An agreement you made (such as mortgage or secured car loan)
   Debtor 2 only
                                              Statutory lien (such as tax lien, mechanic's lien)
   Debtor 1 and Debtor 2 only
                                              Judgment lien from a lawsuit
   At least one of the debtors and another
                                              Other (including a right to offset)
   Check if this claim relates                Security Agreement
   to a community debt
Date debt was incurred          6/22/12       Last 4 digits of account number        5     5    6    6

  2.5                                         Describe the property that
                                              secures the claim:                           $236,850.00             $190,000.00        $46,850.00
SN SERVICING CORPORATION                      35 Locust Court, Manchester,
Creditor's name
323 5TH STREET                                PA 17345
Number     Street


                                              As of the date you file, the claim is: Check all that apply.
                                                  Contingent
EUREKA                  CA      95501             Unliquidated
City                    State   ZIP Code
                                                  Disputed
Who owes the debt? Check one.              Nature of lien. Check all that apply.
   Debtor 1 only
                                              An agreement you made (such as mortgage or secured car loan)
   Debtor 2 only
                                              Statutory lien (such as tax lien, mechanic's lien)
   Debtor 1 and Debtor 2 only
                                              Judgment lien from a lawsuit
   At least one of the debtors and another
                                              Other (including a right to offset)
   Check if this claim relates                Mortgage servicer
   to a community debt
Date debt was incurred          2/18/08       Last 4 digits of account number        7     6    4    4




Add the dollar value of your entries in Column A on this page. Write
that number here:                                                                          $262,906.00

Official Form 106D    Additional Page of Schedule D: Creditors Who Have Claims Secured by Property
        Case 1:20-bk-02687-HWV           Doc 1 Filed 09/09/20 Entered 09/09/20 16:23:13                                               Descpage 3
                                      Main Document              Page 23 of 74
Debtor 1      James Alfred Dale Buffington
Debtor 2      Susan Kay Buffington                                                        Case number (if known)

                  Additional Page                                                     Column A               Column B              Column C
  Part 1:                                                                             Amount of claim        Value of collateral   Unsecured
                  After listing any entries on this page, number them
                                                                                      Do not deduct the      that supports this    portion
                  sequentially from the previous page.
                                                                                      value of collateral    claim                 If any

  2.6                                         Describe the property that
                                              secures the claim:                               $1,132.05           $190,000.00         $1,132.05
THE YORK WATER COMPANY
Creditor's name
                                              35 Locust Court, Manchester,
130 EAST MARKET STREET                        PA 17345
Number     Street
BOX 15089
                                              As of the date you file, the claim is: Check all that apply.
                                                  Contingent
YORK                    PA      17405-7089        Unliquidated
City                    State   ZIP Code
                                                  Disputed
Who owes the debt? Check one.              Nature of lien. Check all that apply.
   Debtor 1 only
                                              An agreement you made (such as mortgage or secured car loan)
   Debtor 2 only
                                              Statutory lien (such as tax lien, mechanic's lien)
   Debtor 1 and Debtor 2 only
                                              Judgment lien from a lawsuit
   At least one of the debtors and another
                                              Other (including a right to offset)
   Check if this claim relates                Water Bill
   to a community debt
Date debt was incurred          8/20          Last 4 digits of account number        3     8    4    8




Add the dollar value of your entries in Column A on this page. Write
that number here:                                                                              $1,132.05

If this is the last page of your form, add the dollar value totals from
all pages. Write that number here:                                                         $276,574.13

Official Form 106D    Additional Page of Schedule D: Creditors Who Have Claims Secured by Property
        Case 1:20-bk-02687-HWV           Doc 1 Filed 09/09/20 Entered 09/09/20 16:23:13                                               Descpage 4
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Debtor 1       James Alfred Dale Buffington
Debtor 2       Susan Kay Buffington                                                    Case number (if known)

 Part 2:        List Others to Be Notified for a Debt That You Already Listed
Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For
example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and
then list the collection agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Part 1,
list the additional creditors here. If you do not have additional persons to be notified for any debts in Part 1, do not fill out or
submit this page.


  1
        GRENEN & BIRSIC, PC                                                    On which line in Part 1 did you enter the creditor?       2.5
        Name
        ONE GATEWAY CENTER                                                     Last 4 digits of account number
        Number       Street
        NINTH FLOOR



        PITTSBURGH                               PA      15222
        City                                     State   ZIP Code




Official Form 106D                 Part 2 of Schedule D: Creditors Who Have Claims Secured by Property                                  page 5

      Case 1:20-bk-02687-HWV                    Doc 1 Filed 09/09/20 Entered 09/09/20 16:23:13                                       Desc
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  Fill in this information to identify your case:
  Debtor 1             James                 Alfred Dale            Buffington
                       First Name            Middle Name            Last Name

  Debtor 2            Susan                  Kay                    Buffington
  (Spouse, if filing) First Name             Middle Name            Last Name


  United States Bankruptcy Court for the: MIDDLE DIST. OF PENNSYLVANIA

  Case number
                                                                                                                        Check if this is an
  (if known)
                                                                                                                        amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                   12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY
claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts
on Schedule A/B: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G).
Do not include any creditors with partially secured claims that are listed in Schedule D: Creditors Who Hold Claims Secured by Property.
If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page
to this page. On the top of any additional pages, write your name and case number (if known).


  Part 1:        List All of Your PRIORITY Unsecured Claims
1.     Do any creditors have priority unsecured claims against you?
            No. Go to Part 2.
            Yes.

2.     List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each
       claim. For each claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and
       show both priority and nonpriority amounts. As much as possible, list the claims in alphabetical order according to the creditor's name. If
       more space is needed for priority unsecured claims, fill out the Continuation Page of Part 1. If more than one creditor holds a particular
       claim, list the other creditors in Part 3.

       (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.
                                                                                                      Total claim       Priority              Nonpriority
                                                                                                                        amount                amount

     2.1


Priority Creditor's Name                                   Last 4 digits of account number
                                                           When was the debt incurred?
Number       Street
                                                           As of the date you file, the claim is: Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed
City                            State   ZIP Code
Who incurred the debt? Check one.                          Type of PRIORITY unsecured claim:
     Debtor 1 only                                            Domestic support obligations
     Debtor 2 only                                            Taxes and certain other debts you owe the government
     Debtor 1 and Debtor 2 only                               Claims for death or personal injury while you were
     At least one of the debtors and another                  intoxicated
     Check if this claim is for a community debt              Other. Specify
Is the claim subject to offset?
     No
     Yes




Official Form 106E/F            Schedule E/F: Creditors Who Have Unsecured Claims
           Case 1:20-bk-02687-HWV   Doc 1 Filed 09/09/20 Entered 09/09/20 16:23:13                                                             Descpage 1
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Debtor 1       James Alfred Dale Buffington
Debtor 2       Susan Kay Buffington                                                             Case number (if known)

  Part 2:        List All of Your NONPRIORITY Unsecured Claims

3.     Do any creditors have nonpriority unsecured claims against you?
            No. You have nothing to report in this part. Submit this form to the court with your other schedules.
            Yes

4.     List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim.
       If a creditor has more than one nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what
       type of claim it is. Do not list claims already included in Part 1. If more than one creditor holds a particular claim, list the other creditors in
       Part 3. If more space is needed for nonpriority unsecured claims, fill out the Continuation Page of Part 2.

                                                                                                                                              Total claim

     4.1                                                                                                                                            $235.08
ARCADIA RECOVERY BUREAU                                     Last 4 digits of account number         7 7        A     1
Nonpriority Creditor's Name
                                                            When was the debt incurred?           1/18/19
PO BOX 6768
Number        Street                                        As of the date you file, the claim is: Check all that apply.
                                                                Contingent
                                                                Unliquidated
                                                                Disputed
WYOMISSING                      PA      19610
City                            State   ZIP Code            Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                               Student loans
   Debtor 1 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                               that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                               Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                               Other. Specify
       Check if this claim is for a community debt               Collecting for medical
Is the claim subject to offset?
     No
     Yes

     4.2                                                                                                                                          $4,406.38
ARCADIA RECOVERY BUREAU                                     Last 4 digits of account number         1 6 A 1
Nonpriority Creditor's Name
                                                            When was the debt incurred?           1/11/11/19, 8/19
PO BOX 6768
Number        Street                                        As of the date you file, the claim is: Check all that apply.
                                                                Contingent
                                                                Unliquidated
                                                                Disputed
WYOMISSING                      PA      19610
City                            State   ZIP Code            Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                               Student loans
   Debtor 1 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                               that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                               Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                               Other. Specify
       Check if this claim is for a community debt               Collecting for medical
Is the claim subject to offset?
     No
     Yes




Official Form 106E/F            Schedule E/F: Creditors Who Have Unsecured Claims
           Case 1:20-bk-02687-HWV   Doc 1 Filed 09/09/20 Entered 09/09/20 16:23:13                                                              Descpage 2
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Debtor 1       James Alfred Dale Buffington
Debtor 2       Susan Kay Buffington                                                    Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                            Total claim
previous page.

   4.3                                                                                                                            $10.13
ARCADIA RECOVERY BUREAU                              Last 4 digits of account number      5 7        A    1
Nonpriority Creditor's Name
                                                     When was the debt incurred?        1/11/19
PO BOX 6768
Number        Street                                 As of the date you file, the claim is: Check all that apply.
                                                         Contingent
                                                         Unliquidated
                                                         Disputed
WYOMISSING                    PA      19610
City                          State   ZIP Code       Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                        Student loans
   Debtor 1 only
                                                        Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                        that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                        Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                        Other. Specify
       Check if this claim is for a community debt       Collecting for medical
Is the claim subject to offset?
     No
     Yes

   4.4                                                                                                                         $1,222.78
AT&T MOBILITY                                        Last 4 digits of account number       7    1    0    4
Nonpriority Creditor's Name
                                                     When was the debt incurred?
15901 E SKELLY DRIVE (PHILA)
Number        Street                                 As of the date you file, the claim is: Check all that apply.
                                                         Contingent
                                                         Unliquidated
                                                         Disputed
TULSA                         OK      74116
City                          State   ZIP Code       Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                        Student loans
   Debtor 1 only
                                                        Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                        that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                        Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                        Other. Specify
       Check if this claim is for a community debt       Cell Phone
Is the claim subject to offset?
     No
     Yes




Official Form 106E/F          Schedule E/F: Creditors Who Have Unsecured Claims
         Case 1:20-bk-02687-HWV   Doc 1 Filed 09/09/20 Entered 09/09/20 16:23:13                                             Descpage 3
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Debtor 1       James Alfred Dale Buffington
Debtor 2       Susan Kay Buffington                                                    Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                            Total claim
previous page.

   4.5                                                                                                                           $512.00
BAY AREA REC                                         Last 4 digits of account number
Nonpriority Creditor's Name
                                                     When was the debt incurred?        6/19
PO BOX 3535
Number        Street                                 As of the date you file, the claim is: Check all that apply.
                                                         Contingent
                                                         Unliquidated
                                                         Disputed
SALISBURY                     MD      21801
City                          State   ZIP Code       Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                        Student loans
   Debtor 1 only
                                                        Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                        that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                        Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                        Other. Specify
       Check if this claim is for a community debt       Collecting for medical
Is the claim subject to offset?
     No
     Yes
Sum total of 2 entries of credit report

   4.6                                                                                                                           $715.00
BERKS CREDIT & COLL                                  Last 4 digits of account number
Nonpriority Creditor's Name
                                                     When was the debt incurred?        3/13
900 CORPORATE DRIVE
Number        Street                                 As of the date you file, the claim is: Check all that apply.
                                                         Contingent
                                                         Unliquidated
                                                         Disputed
READING                       PA      19605
City                          State   ZIP Code       Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                        Student loans
   Debtor 1 only
                                                        Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                        that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                        Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                        Other. Specify
       Check if this claim is for a community debt       Collecting for medical
Is the claim subject to offset?
     No
     Yes
Sum total of 4 entries on Credit Report




Official Form 106E/F          Schedule E/F: Creditors Who Have Unsecured Claims
         Case 1:20-bk-02687-HWV   Doc 1 Filed 09/09/20 Entered 09/09/20 16:23:13                                             Descpage 4
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Debtor 1       James Alfred Dale Buffington
Debtor 2       Susan Kay Buffington                                                    Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                            Total claim
previous page.

   4.7                                                                                                                             $1.00
COLL CENTER                                          Last 4 digits of account number
Nonpriority Creditor's Name
                                                     When was the debt incurred?        9/17
PO BOX 8666
Number        Street                                 As of the date you file, the claim is: Check all that apply.
                                                         Contingent
                                                         Unliquidated
                                                         Disputed
LANCASTER                     PA      17604
City                          State   ZIP Code       Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                        Student loans
   Debtor 1 only
                                                        Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                        that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                        Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                        Other. Specify
       Check if this claim is for a community debt       Collecting for medical
Is the claim subject to offset?
     No
     Yes

   4.8                                                                                                                         $4,684.00
COML ACCEPT                                          Last 4 digits of account number
Nonpriority Creditor's Name
                                                     When was the debt incurred?        10-14
2300 GETTYSBURG RD, STE 102
Number        Street                                 As of the date you file, the claim is: Check all that apply.
                                                         Contingent
                                                         Unliquidated
                                                         Disputed
CAMP HILL                     PA      17011-7303
City                          State   ZIP Code       Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                        Student loans
   Debtor 1 only
                                                        Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                        that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                        Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                        Other. Specify
       Check if this claim is for a community debt       Collecting for medical
Is the claim subject to offset?
     No
     Yes
Sum from prior case.




Official Form 106E/F          Schedule E/F: Creditors Who Have Unsecured Claims
         Case 1:20-bk-02687-HWV   Doc 1 Filed 09/09/20 Entered 09/09/20 16:23:13                                             Descpage 5
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Debtor 1       James Alfred Dale Buffington
Debtor 2       Susan Kay Buffington                                                    Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                            Total claim
previous page.

   4.9                                                                                                                           $851.00
COML ACCEPT                                          Last 4 digits of account number
Nonpriority Creditor's Name
                                                     When was the debt incurred?        3/20
2300 GETTYSBURG RD, STE 102
Number        Street                                 As of the date you file, the claim is: Check all that apply.
                                                         Contingent
                                                         Unliquidated
                                                         Disputed
CAMP HILL                     PA      17011-7303
City                          State   ZIP Code       Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                        Student loans
   Debtor 1 only
                                                        Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                        that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                        Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                        Other. Specify
       Check if this claim is for a community debt       Collecting for Members 1st
Is the claim subject to offset?
     No
     Yes

  4.10                                                                                                                           $459.00
COMMONWEALTH FINANCIAL SYSTEMS INC Last 4 digits of account number                        2 6        5    2
Nonpriority Creditor's Name
                                                     When was the debt incurred?        12/14
245 MAIN STREET
Number        Street                                 As of the date you file, the claim is: Check all that apply.
                                                         Contingent
                                                         Unliquidated
                                                         Disputed
DICKSON CITY                  PA      18519-1641
City                          State   ZIP Code       Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                        Student loans
   Debtor 1 only
                                                        Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                        that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                        Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                        Other. Specify
       Check if this claim is for a community debt       Collecting for Emp of York County LTD
Is the claim subject to offset?
     No
     Yes

  4.11                                                                                                                         $2,200.00
COMMONWEALTH OF PA                                   Last 4 digits of account number
Nonpriority Creditor's Name
                                                     When was the debt incurred?
DEPT OF LABOR & INDUSTRY
Number        Street                                 As of the date you file, the claim is: Check all that apply.
OFFICE OF UC BENEFITS POLICY                             Contingent
651 BOAS STREET RM 608                                   Unliquidated
                                                         Disputed
HARRISBURG                    PA      17121
City                          State   ZIP Code       Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                        Student loans
   Debtor 1 only
                                                        Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                        that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                        Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                        Other. Specify
       Check if this claim is for a community debt       Unemployment Overpayment
Is the claim subject to offset?
     No
     Yes


Official Form 106E/F          Schedule E/F: Creditors Who Have Unsecured Claims
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Debtor 1       James Alfred Dale Buffington
Debtor 2       Susan Kay Buffington                                                    Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                            Total claim
previous page.

  4.12                                                                                                                           $305.00
CREDIT COLL                                          Last 4 digits of account number
Nonpriority Creditor's Name
                                                     When was the debt incurred?        2/19
PO BOX 710
Number        Street                                 As of the date you file, the claim is: Check all that apply.
                                                         Contingent
                                                         Unliquidated
                                                         Disputed
NORWOOD                       MA      02062
City                          State   ZIP Code       Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                        Student loans
   Debtor 1 only
                                                        Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                        that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                        Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                        Other. Specify
       Check if this claim is for a community debt       Collecting for Nationwide Ins
Is the claim subject to offset?
     No
     Yes

  4.13                                                                                                                           $241.00
DEBT RECOVERY SOLUTIONS                              Last 4 digits of account number      6     4    2    1
Nonpriority Creditor's Name
                                                     When was the debt incurred?        5/14
6800 JERICHO TPKE STE 113E
Number        Street                                 As of the date you file, the claim is: Check all that apply.
                                                         Contingent
                                                         Unliquidated
                                                         Disputed
SYOSSET                       NY      11791-4401
City                          State   ZIP Code       Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                        Student loans
   Debtor 1 only
                                                        Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                        that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                        Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                        Other. Specify
       Check if this claim is for a community debt       Collecting for Verizon PA
Is the claim subject to offset?
     No
     Yes

  4.14                                                                                                                         $1,086.00
DIVERSIFIED CONSULTANTS, INC                         Last 4 digits of account number      2     6    5    0
Nonpriority Creditor's Name
                                                     When was the debt incurred?        8/14
PO BOX 551268
Number        Street                                 As of the date you file, the claim is: Check all that apply.
                                                         Contingent
                                                         Unliquidated
                                                         Disputed
JACKSONVILLE                  FL      32255
City                          State   ZIP Code       Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                        Student loans
   Debtor 1 only
                                                        Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                        that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                        Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                        Other. Specify
       Check if this claim is for a community debt       Collecting for Sprint
Is the claim subject to offset?
     No
     Yes


Official Form 106E/F          Schedule E/F: Creditors Who Have Unsecured Claims
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Debtor 1       James Alfred Dale Buffington
Debtor 2       Susan Kay Buffington                                                    Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                            Total claim
previous page.

  4.15                                                                                                                           $936.00
ESCALLATE LLC (MAIL)                                 Last 4 digits of account number
Nonpriority Creditor's Name
                                                     When was the debt incurred?        2013
5200 STONEHAME RD, STE 200
Number        Street                                 As of the date you file, the claim is: Check all that apply.
                                                         Contingent
                                                         Unliquidated
                                                         Disputed
NORTH CANTON                  OH      44720
City                          State   ZIP Code       Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                        Student loans
   Debtor 1 only
                                                        Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                        that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                        Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                        Other. Specify
       Check if this claim is for a community debt       Collecting for Emp of York County ltd
Is the claim subject to offset?
     No
     Yes
Sum total of 2 entries on Credit Report

  4.16                                                                                                                           $100.00
FINANCIAL RECOVERIES                                 Last 4 digits of account number      8 1        7    5
Nonpriority Creditor's Name
                                                     When was the debt incurred?        2011
200 EAST PARK DR STE 100
Number        Street                                 As of the date you file, the claim is: Check all that apply.
                                                         Contingent
                                                         Unliquidated
                                                         Disputed
MOUNT LAUREL                  NJ      08054
City                          State   ZIP Code       Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                        Student loans
   Debtor 1 only
                                                        Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                        that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                        Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                        Other. Specify
       Check if this claim is for a community debt       Collecting for medical
Is the claim subject to offset?
     No
     Yes
Sum total of 2 entries on Credit Report




Official Form 106E/F          Schedule E/F: Creditors Who Have Unsecured Claims
         Case 1:20-bk-02687-HWV   Doc 1 Filed 09/09/20 Entered 09/09/20 16:23:13                                             Descpage 8
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Debtor 1       James Alfred Dale Buffington
Debtor 2       Susan Kay Buffington                                                    Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                            Total claim
previous page.

  4.17                                                                                                                           $186.30
GH HARRIS ASSOCIATES INC                             Last 4 digits of account number      5 6 4           3
Nonpriority Creditor's Name
                                                     When was the debt incurred?        2012-2014
PO BOX 216
Number        Street                                 As of the date you file, the claim is: Check all that apply.
                                                         Contingent
                                                         Unliquidated
                                                         Disputed
DALLAS                        PA      18612
City                          State   ZIP Code       Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                        Student loans
   Debtor 1 only
                                                        Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                        that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                        Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                        Other. Specify
       Check if this claim is for a community debt       Per cap/occupation taxes
Is the claim subject to offset?
     No
     Yes

  4.18                                                                                                                           $186.30
GH HARRIS ASSOCIATES INC                             Last 4 digits of account number      9 7 8           5
Nonpriority Creditor's Name
                                                     When was the debt incurred?        2012-2014
PO BOX 216
Number        Street                                 As of the date you file, the claim is: Check all that apply.
                                                         Contingent
                                                         Unliquidated
                                                         Disputed
DALLAS                        PA      18612
City                          State   ZIP Code       Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                        Student loans
   Debtor 1 only
                                                        Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                        that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                        Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                        Other. Specify
       Check if this claim is for a community debt       Per cap/occupation taxes
Is the claim subject to offset?
     No
     Yes

  4.19                                                                                                                         $4,339.00
GM FINANCIAL-BANKRUPTCY DEPT                         Last 4 digits of account number      0 4        4    9
Nonpriority Creditor's Name
                                                     When was the debt incurred?        8/10/07
PO BOX 183853
Number        Street                                 As of the date you file, the claim is: Check all that apply.
                                                         Contingent
                                                         Unliquidated
                                                         Disputed
ARLINGTON                     TX      76096
City                          State   ZIP Code       Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                        Student loans
   Debtor 1 only
                                                        Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                        that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                        Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                        Other. Specify
       Check if this claim is for a community debt       Automobile Repossession
Is the claim subject to offset?
     No
     Yes


Official Form 106E/F          Schedule E/F: Creditors Who Have Unsecured Claims
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Debtor 1       James Alfred Dale Buffington
Debtor 2       Susan Kay Buffington                                                    Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                            Total claim
previous page.

  4.20                                                                                                                           $703.00
HOLY SPIRIT HOSPITAL/CMHC                            Last 4 digits of account number      0     9    7    6
Nonpriority Creditor's Name
                                                     When was the debt incurred?        1/15
503 N 21ST STREET
Number        Street                                 As of the date you file, the claim is: Check all that apply.
                                                         Contingent
                                                         Unliquidated
                                                         Disputed
CAMP HILL                     PA      17011
City                          State   ZIP Code       Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                        Student loans
   Debtor 1 only
                                                        Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                        that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                        Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                        Other. Specify
       Check if this claim is for a community debt       Medical Account
Is the claim subject to offset?
     No
     Yes

  4.21                                                                                                                           $270.06
                                    Last 4 digits of account number
INTERNAL MEDICINE CONSULTANTS OF YORK                                                     9 2 5           0
Nonpriority Creditor's Name
                                                     When was the debt incurred?        2011-2014
1777 FIFTH AVENUE
Number        Street                                 As of the date you file, the claim is: Check all that apply.
                                                         Contingent
                                                         Unliquidated
                                                         Disputed
YORK                          PA      17403
City                          State   ZIP Code       Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                        Student loans
   Debtor 1 only
                                                        Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                        that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                        Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                        Other. Specify
       Check if this claim is for a community debt       Medical Account
Is the claim subject to offset?
     No
     Yes

  4.22                                                                                                                            $22.00
KATHY S EMSWILER                                     Last 4 digits of account number      0 5 7           3
Nonpriority Creditor's Name
                                                     When was the debt incurred?        2014-2015
TAX COLLECTOR
Number        Street                                 As of the date you file, the claim is: Check all that apply.
20 BONITA DRIVE                                          Contingent
                                                         Unliquidated
                                                         Disputed
MOUNT WOLF                    PA      17347
City                          State   ZIP Code       Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                        Student loans
   Debtor 1 only
                                                        Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                        that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                        Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                        Other. Specify
       Check if this claim is for a community debt       Per cap/occupation taxes
Is the claim subject to offset?
     No
     Yes


Official Form 106E/F          Schedule E/F: Creditors Who Have Unsecured Claims                                                page 10
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Debtor 1       James Alfred Dale Buffington
Debtor 2       Susan Kay Buffington                                                    Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                            Total claim
previous page.

  4.23                                                                                                                            $22.00
KATHY S EMSWILER                                     Last 4 digits of account number      0 5 7           4
Nonpriority Creditor's Name
                                                     When was the debt incurred?        2014-2015
TAX COLLECTOR
Number        Street                                 As of the date you file, the claim is: Check all that apply.
20 BONITA DRIVE                                          Contingent
                                                         Unliquidated
                                                         Disputed
MOUNT WOLF                    PA      17347
City                          State   ZIP Code       Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                        Student loans
   Debtor 1 only
                                                        Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                        that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                        Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                        Other. Specify
       Check if this claim is for a community debt       Per cap/occupation taxes
Is the claim subject to offset?
     No
     Yes

  4.24                                                                                                                            $90.00
MANCHESTER AMBULANCE CLUB                            Last 4 digits of account number      2 6        3    4
Nonpriority Creditor's Name
                                                     When was the debt incurred?        10/4/14
10 DEVCO DR
Number        Street                                 As of the date you file, the claim is: Check all that apply.
                                                         Contingent
                                                         Unliquidated
                                                         Disputed
MANCHESTER                    PA      17345
City                          State   ZIP Code       Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                        Student loans
   Debtor 1 only
                                                        Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                        that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                        Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                        Other. Specify
       Check if this claim is for a community debt       Medical Account for dependent
Is the claim subject to offset?
     No
     Yes

  4.25                                                                                                                         $1,393.31
MET ED                                               Last 4 digits of account number      2     4    1    1
Nonpriority Creditor's Name
                                                     When was the debt incurred?        9/20
PO BOX 16001
Number        Street                                 As of the date you file, the claim is: Check all that apply.
                                                         Contingent
                                                         Unliquidated
                                                         Disputed
READING                       PA      19612
City                          State   ZIP Code       Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                        Student loans
   Debtor 1 only
                                                        Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                        that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                        Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                        Other. Specify
       Check if this claim is for a community debt       Utility acct
Is the claim subject to offset?
     No
     Yes


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Debtor 1       James Alfred Dale Buffington
Debtor 2       Susan Kay Buffington                                                    Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                            Total claim
previous page.

  4.26                                                                                                                           $428.00
NATIONAL RECOVERY AGENCY                             Last 4 digits of account number      2     4    9    4
Nonpriority Creditor's Name
                                                     When was the debt incurred?        8/11
PO BOX 67015
Number        Street                                 As of the date you file, the claim is: Check all that apply.
                                                         Contingent
                                                         Unliquidated
                                                         Disputed
HARRISBURG                    PA      17103-7015
City                          State   ZIP Code       Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                        Student loans
   Debtor 1 only
                                                        Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                        that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                        Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                        Other. Specify
       Check if this claim is for a community debt       Collecting for medical
Is the claim subject to offset?
     No
     Yes

  4.27                                                                                                                         $2,068.15
PENDRICK CAPITAL PARTNERS, LLC                       Last 4 digits of account number
Nonpriority Creditor's Name
                                                     When was the debt incurred?
CUSTOMER SERVICE
Number        Street                                 As of the date you file, the claim is: Check all that apply.
11808 ASHBROOK CT                                        Contingent
                                                         Unliquidated
                                                         Disputed
GERMANTOWN                    MD      20876-2725
City                          State   ZIP Code       Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                        Student loans
   Debtor 1 only
                                                        Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                        that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                        Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                        Other. Specify
       Check if this claim is for a community debt       Collecting for EMP of York Ltd
Is the claim subject to offset?
     No
     Yes

  4.28                                                                                                                         $1,308.00
PHNX FINAN                                           Last 4 digits of account number
Nonpriority Creditor's Name
                                                     When was the debt incurred?        4/20
8902 OTIS AVENUE
Number        Street                                 As of the date you file, the claim is: Check all that apply.
                                                         Contingent
                                                         Unliquidated
                                                         Disputed
INDIANAPOLIS                  IN      46216-1077
City                          State   ZIP Code       Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                        Student loans
   Debtor 1 only
                                                        Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                        that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                        Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                        Other. Specify
       Check if this claim is for a community debt       Collecting for medical
Is the claim subject to offset?
     No
     Yes


Official Form 106E/F          Schedule E/F: Creditors Who Have Unsecured Claims                                                page 12
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Debtor 1       James Alfred Dale Buffington
Debtor 2       Susan Kay Buffington                                                    Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                            Total claim
previous page.

  4.29                                                                                                                         $2,164.00
PORTFOLIO RECOVERY ASSOCIATES LLC                    Last 4 digits of account number      2     4    4    4
Nonpriority Creditor's Name
                                                     When was the debt incurred?        1/13
120 CORPORATE BLVD
Number        Street                                 As of the date you file, the claim is: Check all that apply.
                                                         Contingent
                                                         Unliquidated
                                                         Disputed
NORFOLK                       VA      23502
City                          State   ZIP Code       Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                        Student loans
   Debtor 1 only
                                                        Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                        that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                        Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                        Other. Specify
       Check if this claim is for a community debt       Civil Judgment Collecting for GECRB
Is the claim subject to offset?
     No
     Yes

  4.30                                                                                                                            $98.80
SMILEBUILDERZ LLC                                    Last 4 digits of account number      9 6        7    5
Nonpriority Creditor's Name
                                                     When was the debt incurred?        2020
1685 CROWN AVENUE
Number        Street                                 As of the date you file, the claim is: Check all that apply.
                                                         Contingent
                                                         Unliquidated
                                                         Disputed
LANCASTER                     PA      17601
City                          State   ZIP Code       Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                        Student loans
   Debtor 1 only
                                                        Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                        that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                        Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                        Other. Specify
       Check if this claim is for a community debt       Dental
Is the claim subject to offset?
     No
     Yes

  4.31                                                                                                                             $0.00
SOCIAL SECURITY ADMINISTRATION                       Last 4 digits of account number
Nonpriority Creditor's Name
                                                     When was the debt incurred?
MID ATLANTIC PROGRAM SERVICE CTR
Number        Street                                 As of the date you file, the claim is: Check all that apply.
300 SPRING GARDEN STREET                                 Contingent
                                                         Unliquidated
                                                         Disputed
PHILADELPHIA                  PA      19123
City                          State   ZIP Code       Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                        Student loans
   Debtor 1 only
                                                        Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                        that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                        Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                        Other. Specify
       Check if this claim is for a community debt       Social Security Overpayment
Is the claim subject to offset?
     No
     Yes


Official Form 106E/F          Schedule E/F: Creditors Who Have Unsecured Claims                                                page 13
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Debtor 1       James Alfred Dale Buffington
Debtor 2       Susan Kay Buffington                                                    Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                            Total claim
previous page.

  4.32                                                                                                                         $1,238.00
SYNCB/CARE                                           Last 4 digits of account number      2     4    4    4
Nonpriority Creditor's Name
                                                     When was the debt incurred?        8/09
PO BOX 965005
Number        Street                                 As of the date you file, the claim is: Check all that apply.
                                                         Contingent
                                                         Unliquidated
                                                         Disputed
ORLANDO                       FL      32896
City                          State   ZIP Code       Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                        Student loans
   Debtor 1 only
                                                        Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                        that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                        Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                        Other. Specify
       Check if this claim is for a community debt       Charge Account P & L Writeoff
Is the claim subject to offset?
     No
     Yes

  4.33                                                                                                                            $16.40
WELLSPAN MEDICAL GROUP                               Last 4 digits of account number      0 2        9    9
Nonpriority Creditor's Name
                                                     When was the debt incurred?        2013
PHYSICIAN BILLING SERVICES
Number        Street                                 As of the date you file, the claim is: Check all that apply.
1803 MT ROSE AVE SUITE B3                                Contingent
                                                         Unliquidated
                                                         Disputed
YORK                          PA      17403
City                          State   ZIP Code       Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                        Student loans
   Debtor 1 only
                                                        Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                        that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                        Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                        Other. Specify
       Check if this claim is for a community debt       Medical Account
Is the claim subject to offset?
     No
     Yes




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Debtor 1       James Alfred Dale Buffington
Debtor 2       Susan Kay Buffington                                                    Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                            Total claim
previous page.

  4.34                                                                                                                           $432.00
YORK CR BUREAU                                       Last 4 digits of account number      5 1 3           7
Nonpriority Creditor's Name
                                                     When was the debt incurred?        2011-2012
33 S DUKE STREET
Number        Street                                 As of the date you file, the claim is: Check all that apply.
                                                         Contingent
                                                         Unliquidated
                                                         Disputed
YORK                          PA      17401
City                          State   ZIP Code       Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                        Student loans
   Debtor 1 only
                                                        Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                        that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                        Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                        Other. Specify
       Check if this claim is for a community debt       Collecting for - medical
Is the claim subject to offset?
     No
     Yes
Sum total of 3 entries on Credit Report

  4.35                                                                                                                           $181.00
YORK CR BUREAU                                       Last 4 digits of account number      4 5        3    7
Nonpriority Creditor's Name
                                                     When was the debt incurred?        11/11
33 S DUKE STREET
Number        Street                                 As of the date you file, the claim is: Check all that apply.
                                                         Contingent
                                                         Unliquidated
                                                         Disputed
YORK                          PA      17401
City                          State   ZIP Code       Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                        Student loans
   Debtor 1 only
                                                        Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                        that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                        Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                        Other. Specify
       Check if this claim is for a community debt       Collecting for - medical
Is the claim subject to offset?
     No
     Yes




Official Form 106E/F          Schedule E/F: Creditors Who Have Unsecured Claims                                                page 15
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Debtor 1       James Alfred Dale Buffington
Debtor 2       Susan Kay Buffington                                                    Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                            Total claim
previous page.

  4.36                                                                                                                           $308.00
YORK CR BUREAU                                       Last 4 digits of account number      5 1        9    5
Nonpriority Creditor's Name
                                                     When was the debt incurred?        10/12
33 S DUKE STREET
Number        Street                                 As of the date you file, the claim is: Check all that apply.
                                                         Contingent
                                                         Unliquidated
                                                         Disputed
YORK                          PA      17401
City                          State   ZIP Code       Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                        Student loans
   Debtor 1 only
                                                        Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                        that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                        Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                        Other. Specify
       Check if this claim is for a community debt       Collecting for - medical
Is the claim subject to offset?
     No
     Yes
Sum total of 2 entries on Credit Report




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Debtor 1       James Alfred Dale Buffington
Debtor 2       Susan Kay Buffington                                                       Case number (if known)

  Part 3:        List Others to Be Notified About a Debt That You Already Listed

5.     Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2.
       For example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the original
       creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you have more than one creditor for any of the
       debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional parties to be notified for
       any debts in Parts 1 or 2, do not fill out or submit this page.


BAY AREA CREDIT SERVICE                                     On which entry in Part 1 or Part 2 did you list the original creditor?
Name
4145 SHACKLEFORD RD STE 330B                                Line   4.27 of (Check one):         Part 1: Creditors with Priority Unsecured Claims
Number       Street
                                                                                                Part 2: Creditors with Nonpriority Unsecured Claims

                                                            Last 4 digits of account number
NORCROSS                        GA      30093
City                            State   ZIP Code


BENE & BENE                                                 On which entry in Part 1 or Part 2 did you list the original creditor?
Name
400 PINE GROVE COMMONNS                                     Line   4.36 of (Check one):         Part 1: Creditors with Priority Unsecured Claims
Number       Street
                                                                                                Part 2: Creditors with Nonpriority Unsecured Claims

                                                            Last 4 digits of account number
YORK                            PA      17403
City                            State   ZIP Code


ELMWOOD MED CENTER                                          On which entry in Part 1 or Part 2 did you list the original creditor?
Name
1600 6TH AVENUE, #114                                       Line    4.6 of (Check one):         Part 1: Creditors with Priority Unsecured Claims
Number       Street
                                                                                                Part 2: Creditors with Nonpriority Unsecured Claims

                                                            Last 4 digits of account number
YORK                            PA      17403
City                            State   ZIP Code


EMP OF YORK COUNTY LTD                                      On which entry in Part 1 or Part 2 did you list the original creditor?
Name
4535 DRESSLER RD NW                                         Line   4.15 of (Check one):         Part 1: Creditors with Priority Unsecured Claims
Number       Street
                                                                                                Part 2: Creditors with Nonpriority Unsecured Claims

                                                            Last 4 digits of account number
CANTON                          OH      44718
City                            State   ZIP Code


EMP OF YORK COUNTY LTD                                      On which entry in Part 1 or Part 2 did you list the original creditor?
Name
4535 DRESSLER RD NW                                         Line   4.10 of (Check one):         Part 1: Creditors with Priority Unsecured Claims
Number       Street
                                                                                                Part 2: Creditors with Nonpriority Unsecured Claims

                                                            Last 4 digits of account number
CANTON                          OH      44718
City                            State   ZIP Code




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Debtor 1     James Alfred Dale Buffington
Debtor 2     Susan Kay Buffington                                             Case number (if known)

  Part 3:      List Others to Be Notified About a Debt That You Already Listed -- Continuation Page

GRANTLY FIRE EMS SERVICE                       On which entry in Part 1 or Part 2 did you list the original creditor?
Name
918 VIRGINIAL AVENUE                           Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street
                                                                                   Part 2: Creditors with Nonpriority Unsecured Claims

                                               Last 4 digits of account number
YORK                      PA      17403
City                      State   ZIP Code


HMG CARDIOLOGY                                 On which entry in Part 1 or Part 2 did you list the original creditor?
Name
300 HIGHLAND AVENUE                            Line   4.1 of (Check one):          Part 1: Creditors with Priority Unsecured Claims
Number      Street
                                                                                   Part 2: Creditors with Nonpriority Unsecured Claims

                                               Last 4 digits of account number
HANOVER                   PA      17331
City                      State   ZIP Code


MANCHESTER AMBULANCE CLUB                      On which entry in Part 1 or Part 2 did you list the original creditor?
Name
10 DEVCO DR                                    Line   4.8 of (Check one):          Part 1: Creditors with Priority Unsecured Claims
Number      Street
                                                                                   Part 2: Creditors with Nonpriority Unsecured Claims

                                               Last 4 digits of account number
MANCHESTER                PA      17345
City                      State   ZIP Code


McCLURE LAW OFFICE                             On which entry in Part 1 or Part 2 did you list the original creditor?
Name
PO BOX 65                                      Line   4.26 of (Check one):         Part 1: Creditors with Priority Unsecured Claims
Number      Street
                                                                                   Part 2: Creditors with Nonpriority Unsecured Claims

                                               Last 4 digits of account number
MIDDLETOWN                PA      17057
City                      State   ZIP Code


MEMBERS 1ST FCU                                On which entry in Part 1 or Part 2 did you list the original creditor?
Name
5000 LOUISE DR                                 Line   4.9 of (Check one):          Part 1: Creditors with Priority Unsecured Claims
Number      Street
PO BOX 40                                                                          Part 2: Creditors with Nonpriority Unsecured Claims

                                               Last 4 digits of account number
MECHANICSBURG             PA      17055-0040
City                      State   ZIP Code


MEMORIAL HOSP BUS OFFICE                       On which entry in Part 1 or Part 2 did you list the original creditor?
Name
325 S BELMONT ST                               Line         of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street
PO BOX 15118                                                                       Part 2: Creditors with Nonpriority Unsecured Claims

                                               Last 4 digits of account number
YORK                      PA      17405-7118
City                      State   ZIP Code




Official Form 106E/F        Schedule E/F: Creditors Who Have Unsecured Claims                                               page 18
       Case 1:20-bk-02687-HWV   Doc 1 Filed 09/09/20 Entered 09/09/20 16:23:13                                            Desc
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Debtor 1     James Alfred Dale Buffington
Debtor 2     Susan Kay Buffington                                            Case number (if known)

  Part 3:      List Others to Be Notified About a Debt That You Already Listed -- Continuation Page

MILLER DIPIETRO ASSOC                          On which entry in Part 1 or Part 2 did you list the original creditor?
Name
PO BOX 3057                                    Line   4.34 of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street
                                                                                  Part 2: Creditors with Nonpriority Unsecured Claims

                                               Last 4 digits of account number
YORK                      PA      17402
City                      State   ZIP Code


NATIONWIDE INSURANCE                           On which entry in Part 1 or Part 2 did you list the original creditor?
Name
ONE NATIONWIDE PLAZA                           Line   4.12 of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street
                                                                                  Part 2: Creditors with Nonpriority Unsecured Claims

                                               Last 4 digits of account number
COLUMBUS                  OH      43215
City                      State   ZIP Code


PINNACLE HEALTH HOSPITALS                      On which entry in Part 1 or Part 2 did you list the original creditor?
Name
PO BOX 2353                                    Line   4.2 of (Check one):         Part 1: Creditors with Priority Unsecured Claims
Number      Street
                                                                                  Part 2: Creditors with Nonpriority Unsecured Claims

                                               Last 4 digits of account number
HARRISBURG                PA      17105
City                      State   ZIP Code


SPRINT BANKRUPTCY                              On which entry in Part 1 or Part 2 did you list the original creditor?
Name
PO BOX 7949                                    Line   4.14 of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street
                                                                                  Part 2: Creditors with Nonpriority Unsecured Claims

                                               Last 4 digits of account number
OVERLAND PARK             KS      66207
City                      State   ZIP Code


STANTON S LEBOUITZ MD                          On which entry in Part 1 or Part 2 did you list the original creditor?
Name
250 FAME AVENUE                                Line   4.35 of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street
                                                                                  Part 2: Creditors with Nonpriority Unsecured Claims

                                               Last 4 digits of account number
HANOVER                   PA      17331
City                      State   ZIP Code


VERIZON BANKRUPTCY DEPT                        On which entry in Part 1 or Part 2 did you list the original creditor?
Name
500 TECHNOLOGY DR, STE 550                     Line   4.13 of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street
                                                                                  Part 2: Creditors with Nonpriority Unsecured Claims

                                               Last 4 digits of account number
SAINT CHARLES             MO      63304-2225
City                      State   ZIP Code




Official Form 106E/F        Schedule E/F: Creditors Who Have Unsecured Claims                                              page 19
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Debtor 1     James Alfred Dale Buffington
Debtor 2     Susan Kay Buffington                                            Case number (if known)

  Part 3:      List Others to Be Notified About a Debt That You Already Listed -- Continuation Page

VERIZON PENNSYLVANIA, INC                      On which entry in Part 1 or Part 2 did you list the original creditor?
Name
1717 ARCH ST, #17                              Line   4.13 of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street
                                                                                  Part 2: Creditors with Nonpriority Unsecured Claims

                                               Last 4 digits of account number
PHILADELPHIA              PA      19103
City                      State   ZIP Code


WELLSPAN MEDICAL GROUP                         On which entry in Part 1 or Part 2 did you list the original creditor?
Name
PHYSICIAN BILLING SERVICES                     Line   4.16 of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street
1803 MT ROSE AVE SUITE B3                                                         Part 2: Creditors with Nonpriority Unsecured Claims

                                               Last 4 digits of account number
YORK                      PA      17403
City                      State   ZIP Code


WHITE ROSE OB/GYN ASSOC                        On which entry in Part 1 or Part 2 did you list the original creditor?
Name
1225 E MARKET STREET                           Line   4.26 of (Check one):        Part 1: Creditors with Priority Unsecured Claims
Number      Street
                                                                                  Part 2: Creditors with Nonpriority Unsecured Claims

                                               Last 4 digits of account number
YORK                      PA      17403
City                      State   ZIP Code




Official Form 106E/F        Schedule E/F: Creditors Who Have Unsecured Claims                                              page 20
       Case 1:20-bk-02687-HWV   Doc 1 Filed 09/09/20 Entered 09/09/20 16:23:13                                           Desc
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Debtor 1       James Alfred Dale Buffington
Debtor 2       Susan Kay Buffington                                                     Case number (if known)

 Part 4:        Add the Amounts for Each Type of Unsecured Claim

6.   Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only.
     28 U.S.C. § 159. Add the amounts for each type of unsecured claim.


                                                                                                                Total claim

Total claims       6a. Domestic support obligations                                                   6a.                     $0.00
from Part 1
                   6b. Taxes and certain other debts you owe the government                           6b.                     $0.00

                   6c. Claims for death or personal injury while you were intoxicated                 6c.                     $0.00

                   6d. Other. Add all other priority unsecured claims. Write that amount here.        6d.   +                 $0.00


                   6e. Total.     Add lines 6a through 6d.                                            6d.                     $0.00




                                                                                                                Total claim

Total claims       6f.   Student loans                                                                6f.                     $0.00
from Part 2
                   6g. Obligations arising out of a separation agreement or divorce                   6g.                     $0.00
                       that you did not report as priority claims

                   6h. Debts to pension or profit-sharing plans, and other similar                    6h.                     $0.00
                       debts

                   6i.   Other. Add all other nonpriority unsecured claims. Write that amount here.   6i.   +         $33,418.69


                   6j.   Total.   Add lines 6f through 6i.                                            6j.             $33,418.69




Official Form 106E/F       Schedule E/F: Creditors Who Have Unsecured Claims                                                            page 21
      Case 1:20-bk-02687-HWV   Doc 1 Filed 09/09/20 Entered 09/09/20 16:23:13                                                         Desc
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 Fill in this information to identify your case:
 Debtor 1            James                Alfred Dale            Buffington
                     First Name           Middle Name            Last Name

 Debtor 2            Susan                Kay                    Buffington
 (Spouse, if filing) First Name           Middle Name            Last Name


 United States Bankruptcy Court for the: MIDDLE DIST. OF PENNSYLVANIA

 Case number
                                                                                                                    Check if this is an
 (if known)
                                                                                                                    amended filing

Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                             12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page.
On the top of any additional pages, write your name and case number (if known).


1.   Do you have any executory contracts or unexpired leases?
          No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
          Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).

2.   List separately each person or company with whom you have the contract or lease. Then state what each contract or lease
     is for (for example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of
     executory contracts and unexpired leases.

        Person or company with whom you have the contract or lease                   State what the contract or lease is for




Official Form 106G                          Schedule G: Executory Contracts and Unexpired Leases                                                 page 1

      Case 1:20-bk-02687-HWV                      Doc 1 Filed 09/09/20 Entered 09/09/20 16:23:13                                          Desc
                                                 Main Document    Page 47 of 74
 Fill in this information to identify your case:
 Debtor 1            James               Alfred Dale             Buffington
                     First Name          Middle Name             Last Name

 Debtor 2            Susan               Kay                     Buffington
 (Spouse, if filing) First Name          Middle Name             Last Name


 United States Bankruptcy Court for the: MIDDLE DIST. OF PENNSYLVANIA

 Case number
                                                                                                                    Check if this is an
 (if known)
                                                                                                                    amended filing



Official Form 106H
Schedule H: Your Codebtors                                                                                                                   12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If
two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, copy the Additional Page, fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this
page. On the top of any Additional Pages, write your name and case number (if known). Answer every question.


1.   Do you have any codebtors?       (If you are filing a joint case, do not list either spouse as a codebtor.)
         No
         Yes

2.   Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories
     include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
          No. Go to line 3.
          Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
              No
              Yes
3.   In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the
     person shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the
     creditor on Schedule D (Official Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use
     Schedule D, Schedule E/F, or Schedule G to fill out Column 2.

        Column 1: Your codebtor                                                              Column 2: The creditor to whom you owe the debt

                                                                                             Check all schedules that apply:




Official Form 106H                                         Schedule H: Your Codebtors                                                        page 1

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 Fill in this information to identify your case:
     Debtor 1              James                Alfred Dale            Buffington
                           First Name           Middle Name            Last Name                           Check if this is:
     Debtor 2              Susan                Kay                    Buffington                               An amended filing
     (Spouse, if filing)   First Name           Middle Name            Last Name
                                                                                                                A supplement showing postpetition
     United States Bankruptcy Court for the:   MIDDLE DIST. OF PENNSYLVANIA
                                                                                                                chapter 13 income as of the following date:
     Case number
     (if known)
                                                                                                                MM / DD / YYYY
Official Form 106I
Schedule I: Your Income                                                                                                                              12/15

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally
responsible for supplying correct information. If you are married and not filing jointly, and your spouse is living with you,
include information about your spouse. If you are separated and your spouse is not filing with you, do not include information
about your spouse. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
your name and case number (if known). Answer every question.

 Part 1:          Describe Employment
1.    Fill in your employment
      information.                                             Debtor 1                                           Debtor 2 or non-filing spouse
      If you have more than one
      job, attach a separate page       Employment status             Employed                                           Employed
      with information about                                          Not employed                                       Not employed
      additional employers.
                                        Occupation             Disabled                                           Disabled
      Include part-time, seasonal,
      or self-employed work.            Employer's name

      Occupation may include            Employer's address
      student or homemaker, if it                              Number Street                                      Number Street
      applies.




                                                               City                         State   Zip Code      City                   State   Zip Code

                                        How long employed there?


 Part 2:          Give Details About Monthly Income
Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your
non-filing spouse unless you are separated.
If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If
you need more space, attach a separate sheet to this form.

                                                                                            For Debtor 1            For Debtor 2 or
                                                                                                                    non-filing spouse

2.    List monthly gross wages, salary, and commissions (before all             2.                     $0.00                   $0.00
      payroll deductions). If not paid monthly, calculate what the monthly wage
      would be.
3.    Estimate and list monthly overtime pay.                                      3.   +              $0.00                   $0.00

4.    Calculate gross income. Add line 2 + line 3.                                 4.                  $0.00                   $0.00




Official Form 106I                                            Schedule I: Your Income                                                                page 1
        Case 1:20-bk-02687-HWV                    Doc 1 Filed 09/09/20 Entered 09/09/20 16:23:13                                                 Desc
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Debtor 1        James Alfred Dale Buffington
Debtor 2        Susan Kay Buffington                                                                                                  Case number (if known)
                                                                                                                        For Debtor 1              For Debtor 2 or
                                                                                                                                                  non-filing spouse
     Copy line 4 here ...................................................................................................................
                                                                                                                 4.                       $0.00            $0.00
5.   List all payroll deductions:
     5a. Tax, Medicare, and Social Security deductions                                                          5a.                  $0.00                 $0.00
     5b. Mandatory contributions for retirement plans                                                           5b.                  $0.00                 $0.00
     5c. Voluntary contributions for retirement plans                                                           5c.                  $0.00                 $0.00
     5d. Required repayments of retirement fund loans                                                           5d.                  $0.00                 $0.00
     5e. Insurance                                                                                              5e.                  $0.00                 $0.00
     5f. Domestic support obligations                                                                           5f.                  $0.00                 $0.00
     5g. Union dues                                                                                             5g.                  $0.00                 $0.00
     5h. Other deductions.
          Specify: See continuation sheet                                                                       5h. +                $2.27                 $0.00
6.   Add the payroll deductions.                   Add lines 5a + 5b + 5c + 5d + 5e + 5f +                      6.                   $2.27                 $0.00
     5g + 5h.
7.   Calculate total monthly take-home pay.                           Subtract line 6 from line 4.              7.                 ($2.27)                 $0.00
8.   List all other income regularly received:
     8a. Net income from rental property and from operating a                                                   8a.                  $0.00                 $0.00
          business, profession, or farm
            Attach a statement for each property and business showing
            gross receipts, ordinary and necessary business expenses, and
            the total monthly net income.
     8b. Interest and dividends                                                                                 8b.                  $0.00                 $0.00
     8c. Family support payments that you, a non-filing spouse, or a                                            8c.                  $0.00                 $0.00
         dependent regularly receive
            Include alimony, spousal support, child support, maintenance,
            divorce settlement, and property settlement.
     8d. Unemployment compensation                                                                              8d.               $0.00                   $0.00
     8e. Social Security                                                                                        8e.           $2,562.00                 $750.00
     8f. Other government assistance that you regularly receive
         Include cash assistance and the value (if known) or any non-
         cash assistance that you receive, such as food stamps
         (benefits under the Supplemental Nutrition Assistance Program)
         or housing subsidies.
         Specify:                                                                                               8f.                  $0.00                 $0.00
     8g. Pension or retirement income                                                                           8g.                  $0.00                 $0.00
     8h. Other monthly income.
         Specify: SNAP                                                                                          8h. +              $79.00                  $0.00

9.   Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f + 8g + 8h.                                     9.            $2,641.00                 $750.00

10. Calculate monthly income. Add line 7 + line 9.                             10.     $2,638.73 +          $750.00 =                                                         $3,388.73
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
    friends or relatives.

     Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

     Specify:                                                                                                                                                  11.    +           $0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly                                                  12.            $3,388.73
    income. Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information,
    if it applies.                                                                                                                                                        Combined
                                                                                                                                                                          monthly income
13. Do you expect an increase or decrease within the year after you file this form?
        No.           Joint Debtor is applying for Social Security.
            Yes. Explain:




Official Form 106I                                                                  Schedule I: Your Income                                                                        page 2
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Debtor 1     James Alfred Dale Buffington
Debtor 2     Susan Kay Buffington                                                  Case number (if known)


                                                                          For Debtor 1       For Debtor 2 or
                                                                                             non-filing spouse
5h. Other Payroll Deductions (details)
     Local                                                                        $0.60
     SUI                                                                          $0.67
     LST                                                                          $1.00

                                                                Totals:           $2.27               $0.00




Official Form 106I                                Schedule I: Your Income                                           page 3
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 Fill in this information to identify your case:
                                                                                                         Check if this is:
     Debtor 1              James                  Alfred Dale            Buffington                          An amended filing
                           First Name             Middle Name            Last Name                           A supplement showing postpetition
                                                                                                             chapter 13 expenses as of the
     Debtor 2              Susan                  Kay                    Buffington
     (Spouse, if filing)   First Name             Middle Name            Last Name                           following date:

     United States Bankruptcy Court for the:    MIDDLE DIST. OF PENNSYLVANIA                                   MM / DD / YYYY
     Case number
     (if known)

Official Form 106J
Schedule J: Your Expenses                                                                                                                        12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your
name and case number (if known). Answer every question.


 Part 1:          Describe Your Household
1.    Is this a joint case?

            No. Go to line 2.
            Yes. Does Debtor 2 live in a separate household?
                     No
                     Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.
2.    Do you have dependents?                  No
                                               Yes. Fill out this information          Dependent's relationship to    Dependent's      Does dependent
      Do not list Debtor 1 and                                                         Debtor 1 or Debtor 2           age              live with you?
                                               for each dependent...................................
      Debtor 2.                                                                                                                            No
                                                                                  Son                                 24
                                                                                                                                           Yes
      Do not state the dependents'
                                                                                                                                           No
      names.
                                                                                                                                           Yes
                                                                                                                                           No
                                                                                                                                           Yes
                                                                                                                                           No
                                                                                                                                           Yes
                                                                                                                                           No
                                                                                                                                           Yes
3.    Do your expenses include                        No
      expenses of people other than                   Yes
      yourself and your dependents?


 Part 2:          Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case
to report expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of
the form and fill in the applicable date.
Include expenses paid for with non-cash government assistance if you know the value of
such assistance and have included it on Schedule I: Your Income (Official Form 106I.)                                      Your expenses

4.    The rental or home ownership expenses for your residence.                                                      4.                    $1,670.98
      Include first mortgage payments and any rent for the ground or lot.
      If not included in line 4:

      4a. Real estate taxes                                                                                          4a.

      4b. Property, homeowner's, or renter's insurance                                                               4b.

      4c. Home maintenance, repair, and upkeep expenses                                                              4c.

      4d. Homeowner's association or condominium dues                                                                4d.                         $3.75




 Official Form 106J                                             Schedule J: Your Expenses                                                        page 1
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Debtor 1      James Alfred Dale Buffington
Debtor 2      Susan Kay Buffington                                                     Case number (if known)

                                                                                                          Your expenses

5.   Additional mortgage payments for your residence, such as home equity loans                     5.

6.   Utilities:

     6a. Electricity, heat, natural gas                                                             6a.                    $175.00
     6b. Water, sewer, garbage collection                                                           6b.                     $40.00
     6c. Telephone, cell phone, Internet, satellite, and                                            6c.                    $105.00
         cable services
     6d. Other. Specify:                                                                            6d.

7.   Food and housekeeping supplies                                                                 7.                     $500.00
8.   Childcare and children's education costs                                                       8.

9.   Clothing, laundry, and dry cleaning                                                            9.

10. Personal care products and services                                                             10.                    $175.00
11. Medical and dental expenses                                                                     11.                    $215.00
12. Transportation. Include gas, maintenance, bus or train                                          12.                    $255.00
    fare. Do not include car payments.
13. Entertainment, clubs, recreation, newspapers,                                                   13.                    $100.00
    magazines, and books
14. Charitable contributions and religious donations                                                14.

15. Insurance.
    Do not include insurance deducted from your pay or included in lines 4 or 20.

     15a.   Life insurance                                                                          15a.

     15b.   Health insurance                                                                        15b.

     15c.   Vehicle insurance                                                                       15c.

     15d.   Other insurance. Specify:                                                               15d.
16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
    Specify: Personal Taxes                                                                         16.                     $50.00
17. Installment or lease payments:

     17a.   Car payments for Vehicle 1    12 Dodge SEE PLAN                                         17a.

     17b.   Car payments for Vehicle 2                                                              17b.

     17c.   Other. Specify:                                                                         17c.

     17d.   Other. Specify:                                                                         17d.

18. Your payments of alimony, maintenance, and support that you did not report as                   18.
    deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).


19. Other payments you make to support others who do not live with you.
    Specify:                                                                                        19.




 Official Form 106J                                        Schedule J: Your Expenses                                          page 2
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Debtor 1      James Alfred Dale Buffington
Debtor 2      Susan Kay Buffington                                                             Case number (if known)

20. Other real property expenses not included in lines 4 or 5 of this form or on
    Schedule I: Your Income.
    20a.    Mortgages on other property                                                                      20a.

    20b.    Real estate taxes                                                                                20b.

    20c.    Property, homeowner's, or renter's insurance                                                     20c.

    20d.    Maintenance, repair, and upkeep expenses                                                         20d.

    20e.    Homeowner's association or condominium dues                                                      20e.

21. Other. Specify:                                                                                          21.    +
22. Calculate your monthly expenses.

    22a.    Add lines 4 through 21.                                                                          22a.       $3,289.73
    22b.    Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2.                 22b.

    22c.    Add line 22a and 22b. The result is your monthly expenses.                                       22c.       $3,289.73

23. Calculate your monthly net income.

    23a.    Copy line 12 (your combined monthly income) from Schedule I.                                     23a.       $3,388.73
    23b.    Copy your monthly expenses from line 22c above.                                                  23b.   –   $3,289.73
    23c.    Subtract your monthly expenses from your monthly income.
            The result is your monthly net income.                                                           23c.         $99.00

24. Do you expect an increase or decrease in your expenses within the year after you file this form?

    For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage
    payment to increase or decrease because of a modification to the terms of your mortgage?

           No.
           Yes. Explain here:
                None.




 Official Form 106J                                         Schedule J: Your Expenses                                       page 3
      Case 1:20-bk-02687-HWV                      Doc 1 Filed 09/09/20 Entered 09/09/20 16:23:13                        Desc
                                                 Main Document    Page 54 of 74
 Fill in this information to identify your case:
 Debtor 1                James                         Alfred Dale                   Buffington
                         First Name                    Middle Name                   Last Name

 Debtor 2            Susan                             Kay                           Buffington
 (Spouse, if filing) First Name                        Middle Name                   Last Name


 United States Bankruptcy Court for the: MIDDLE DIST. OF PENNSYLVANIA

 Case number
                                                                                                                                                           Check if this is an
 (if known)
                                                                                                                                                           amended filing

Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                                                    12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended
schedules after you file your original forms, you must fill out a new Summary and check the box at the top of this page.



 Part 1:          Summarize Your Assets

                                                                                                                                                                      Your assets
                                                                                                                                                                      Value of what you own
1.   Schedule A/B: Property (Official Form 106A/B)
                                                                                                                                                                            $190,000.00
     1a. Copy line 55, Total real estate, from Schedule A/B.....................................................................................................................


                                                                                                                                                                           $5,380.00
     1b. Copy line 62, Total personal property, from Schedule A/B.......................................................................................................................................................


                                                                                                                                                                            $195,380.00
     1c. Copy line 63, Total of all property on Schedule A/B..................................................................................................................................................................


 Part 2:          Summarize Your Liabilities

                                                                                                                                                                        Your liabilities
                                                                                                                                                                        Amount you owe

2.   Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
                                                                                                                                          $276,574.13
     2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D.........................

3.   Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
                                                                                                                                                                  $0.00
     3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................................................................


                                                                                                                                    +                 $33,418.69
     3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F........................................................



                                                                                                                                   Your total liabilities                         $309,992.82




 Part 3:          Summarize Your Income and Expenses

4.   Schedule I: Your Income (Official Form 106I)
                                                                                                                                                                         $3,388.73
     Copy your combined monthly income from line 12 of Schedule I.....................................................................................................................................................

5.   Schedule J: Your Expenses (Official Form 106J)
     Copy your monthly expenses from line 22c of Schedule J.........................................................................................................                  $3,289.73




Official Form 106Sum                        Summary of Your Assets and Liabilities and Certain Statistical Information                                                                         page 1

       Case 1:20-bk-02687-HWV                                     Doc 1 Filed 09/09/20 Entered 09/09/20 16:23:13                                                                      Desc
                                                                 Main Document    Page 55 of 74
Debtor 1      James Alfred Dale Buffington
Debtor 2      Susan Kay Buffington                                                         Case number (if known)


 Part 4:        Answer These Questions for Administrative and Statistical Records

6.   Are you filing for bankruptcy under Chapters 7, 11, or 13?

           No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
           Yes

7.   What kind of debt do you have?

           Your debts are primarily consumer debts. Consumer debts are those "incurred by an individual primarily for a personal,
           family, or household purpose." 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.
           Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
           this form to the court with your other schedules.

8.   From the Statement of Your Current Monthly Income: Copy your total current monthly income from
     Official Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                         $79.00


9.   Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                        Total claim

     From Part 4 on Schedule E/F, copy the following:

     9a. Domestic support obligations. (Copy line 6a.)                                                                $0.00

     9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                                        $0.00


     9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                              $0.00

     9d. Student loans. (Copy line 6f.)                                                                               $0.00


     9e. Obligations arising out of a separation agreement or divorce that you did not report as                      $0.00
         priority claims. (Copy line 6g.)

     9f.   Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)       +                 $0.00


     9g. Total.    Add lines 9a through 9f.                                                                           $0.00




Official Form 106Sum               Summary of Your Assets and Liabilities and Certain Statistical Information                                page 2

       Case 1:20-bk-02687-HWV                      Doc 1 Filed 09/09/20 Entered 09/09/20 16:23:13                                      Desc
                                                  Main Document    Page 56 of 74
 Fill in this information to identify your case:
 Debtor 1           James               Alfred Dale          Buffington
                    First Name          Middle Name          Last Name

 Debtor 2            Susan              Kay                  Buffington
 (Spouse, if filing) First Name         Middle Name          Last Name


 United States Bankruptcy Court for the: MIDDLE DIST. OF PENNSYLVANIA

 Case number
                                                                                                               Check if this is an
 (if known)
                                                                                                               amended filing

Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                       12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement,
concealing property, or obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to
$250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



               Sign Below

    Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

          No

          Yes. Name of person                                                                  Attach Bankruptcy Petition Preparer's Notice,
                                                                                               Declaration, and Signature (Official Form 119).




    Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and that they are
    true and correct.




    X /s/ James Alfred Dale Buffington                     X /s/ Susan Kay Buffington
        James Alfred Dale Buffington, Debtor 1                Susan Kay Buffington, Debtor 2

        Date                                                  Date
               MM / DD / YYYY                                        MM / DD / YYYY




Official Form 106Dec                        Declaration About an Individual Debtor's Schedules                                           page 1

      Case 1:20-bk-02687-HWV                      Doc 1 Filed 09/09/20 Entered 09/09/20 16:23:13                                     Desc
                                                 Main Document    Page 57 of 74
 Fill in this information to identify your case:
 Debtor 1           James                 Alfred Dale            Buffington
                    First Name            Middle Name            Last Name

 Debtor 2            Susan                Kay                    Buffington
 (Spouse, if filing) First Name           Middle Name            Last Name


 United States Bankruptcy Court for the: MIDDLE DIST. OF PENNSYLVANIA

 Case number
                                                                                                                Check if this is an
 (if known)
                                                                                                                amended filing

Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                     04/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
your name and case number (if known). Answer every question.


 Part 1:       Give Details About Your Marital Status and Where You Lived Before

1.   What is your current marital status?
        Married
        Not married

2.   During the last 3 years, have you lived anywhere other than where you live now?
         No
         Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

3.   Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory?
     (Community property states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas,
     Washington, and Wisconsin.)
         No
         Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).




Official Form 107                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                              page 1

      Case 1:20-bk-02687-HWV                      Doc 1 Filed 09/09/20 Entered 09/09/20 16:23:13                                      Desc
                                                 Main Document    Page 58 of 74
Debtor 1       James Alfred Dale Buffington
Debtor 2       Susan Kay Buffington                                                      Case number (if known)

 Part 2:         Explain the Sources of Your Income
4.   Did you have any income from employment or from operating a business during this year or the two previous calendar years?
     Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
     If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

           No
           Yes. Fill in the details.

                                                    Debtor 1                                        Debtor 2

                                                  Sources of income          Gross income          Sources of income         Gross income
                                                  Check all that apply.      (before deductions    Check all that apply.     (before deductions
                                                                             and exclusions                                  and exclusions

From January 1 of the current year until              Wages, commissions,                             Wages, commissions,
the date you filed for bankruptcy:                    bonuses, tips                                   bonuses, tips
                                                      Operating a business                            Operating a business


For the last calendar year:                           Wages, commissions,            $54,092.00       Wages, commissions,
                                                      bonuses, tips                                   bonuses, tips
(January 1 to December 31, 2019 )
                                  YYYY                Operating a business                            Operating a business


For the calendar year before that:                    Wages, commissions,            $37,158.00       Wages, commissions,
                                                      bonuses, tips                                   bonuses, tips
(January 1 to December 31, 2018 )
                                  YYYY                Operating a business                            Operating a business

5.   Did you receive any other income during this year or the two previous calendar years?
     Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security;
     unemployment; and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties;
     and gambling and lottery winnings. If you are in a joint case and you have income that you received together, list it only once under
     Debtor 1.

     List each source and the gross income from each source separately. Do not include income that you listed in line 4.

           No
           Yes. Fill in the details.


                                                    Debtor 1                                        Debtor 2

                                                  Sources of income           Gross income         Sources of income          Gross income
                                                  Describe below.             from each source     Describe below.            from each source
                                                                              (before deductions                              (before deductions
                                                                              and exclusions                                  and exclusions

From January 1 of the current year until          Unemployment Comp                     $996.00
the date you filed for bankruptcy:



For the last calendar year:                       Unemployment Comp                   $6,660.00
(January 1 to December 31, 2019 )
                                YYYY



For the calendar year before that:                Unemployment Comp                  $10,940.00
(January 1 to December 31, 2018 )
                                YYYY




Official Form 107                        Statement of Financial Affairs for Individuals Filing for Bankruptcy                              page 2

      Case 1:20-bk-02687-HWV                       Doc 1 Filed 09/09/20 Entered 09/09/20 16:23:13                                    Desc
                                                  Main Document    Page 59 of 74
Debtor 1         James Alfred Dale Buffington
Debtor 2         Susan Kay Buffington                                                        Case number (if known)


 Part 3:          List Certain Payments You Made Before You Filed for Bankruptcy
6.   Are either Debtor 1's or Debtor 2's debts primarily consumer debts?

           No.     Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
                   "incurred by an individual primarily for a personal, family, or household purpose."

                   During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,825* or more?

                      No. Go to line 7.

                      Yes. List below each creditor to whom you paid a total of $6,825* or more in one or more payments and the
                           total amount you paid that creditor. Do not include payments for domestic support obligations, such as
                           child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.

                   * Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.

           Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.

                   During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                      No. Go to line 7.

                      Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
                           creditor. Do not include payments for domestic support obligations, such as child support and alimony.
                           Also, do not include payments to an attorney for this bankruptcy case.

7.   Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
     Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
     corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing
     agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations
     such as child support and alimony.

           No
           Yes. List all payments to an insider.

8.   Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that
     benefited an insider?
     Include payments on debts guaranteed or cosigned by an insider.

           No
           Yes. List all payments that benefited an insider.

 Part 4:          Identify Legal Actions, Repossessions, and Foreclosures
9.   Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
     List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
     modifications, and contract disputes.

           No
           Yes. Fill in the details.




Official Form 107                         Statement of Financial Affairs for Individuals Filing for Bankruptcy                                   page 3

      Case 1:20-bk-02687-HWV                         Doc 1 Filed 09/09/20 Entered 09/09/20 16:23:13                                        Desc
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Debtor 1         James Alfred Dale Buffington
Debtor 2         Susan Kay Buffington                                                          Case number (if known)

10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached,
    seized, or levied?
    Check all that apply and fill in the details below.

           No. Go to line 11.
           Yes. Fill in the information below.

                                                                Describe the property                            Date            Value of the property
REGIONAL ACCEPTANCE CORP                                        2012 Dodge Grand Caravan                              08/29/20
Creditor's Name

BANKRUPTCY DEPT
Number     Street                                               Explain what happened
1420-C EAST FIRE TOWER ROAD                                        Property was repossessed.
                                                                   Property was foreclosed.
GREENVILLE                             NC         27858            Property was garnished.
City                                   State      ZIP Code         Property was attached, seized, or levied.

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any
    amounts from your accounts or refuse to make a payment because you owed a debt?

           No
           Yes. Fill in the details.

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
    creditors, a court-appointed receiver, a custodian, or another official?

           No
           Yes

  Part 5:         List Certain Gifts and Contributions
13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

           No
           Yes. Fill in the details for each gift.

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600
    to any charity?


           No
           Yes. Fill in the details for each gift or contribution.

  Part 6:         List Certain Losses
15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire,
    other disaster, or gambling?

           No
           Yes. Fill in the details.




Official Form 107                              Statement of Financial Affairs for Individuals Filing for Bankruptcy                             page 4

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Debtor 1       James Alfred Dale Buffington
Debtor 2       Susan Kay Buffington                                                        Case number (if known)

  Part 7:        List Certain Payments or Transfers
16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to
    anyone you consulted about seeking bankruptcy or preparing a bankruptcy petition?
       Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required for your bankruptcy.

           No
           Yes. Fill in the details.

                                                     Description and value of any property transferred          Date payment        Amount of
Mott & Gendron Law                                   Fees in prior case                                         or transfer was     payment
Person Who Was Paid                                                                                             made

125 State Street
Number      Street




Harrisburg                    PA       17101
City                          State    ZIP Code


Email or website address


Person Who Made the Payment, if Not You

                                                     Description and value of any property transferred          Date payment        Amount of
Moneysharp Credit Counseling Inc                                                                                or transfer was     payment
Person Who Was Paid                                                                                             made

1916 N Fairfield Ave, Ste 200                                                                                       09-09-20            $10.00
Number      Street




Chicago                       IL       60647
City                          State    ZIP Code


Email or website address


Person Who Made the Payment, if Not You

17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to
    anyone who promised to help you deal with your creditors or to make payments to your creditors?
       Do not include any payment or transfer that you listed on line 16.

           No
           Yes. Fill in the details.




Official Form 107                         Statement of Financial Affairs for Individuals Filing for Bankruptcy                              page 5

        Case 1:20-bk-02687-HWV                      Doc 1 Filed 09/09/20 Entered 09/09/20 16:23:13                                      Desc
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Debtor 1        James Alfred Dale Buffington
Debtor 2        Susan Kay Buffington                                                        Case number (if known)

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than
    property transferred in the ordinary course of your business or financial affairs?
       Include both outright transfers and transfers made as security (such as granting of a security interest or mortgage on your property).
       Do not include gifts and transfers that you have already listed on this statement.


           No
           Yes. Fill in the details.

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which
    you are a beneficiary? (These are often called asset-protection devices.)
           No
           Yes. Fill in the details.

  Part 8:         List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units
20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your
    benefit, closed, sold, moved, or transferred?
       Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
       houses, pension funds, cooperatives, associations, and other financial institutions.

           No
           Yes. Fill in the details.

                                                      Last 4 digits of account     Type of account or           Date account         Last balance
                                                      number                       instrument                   was closed,          before closing
                                                                                                                sold, moved,         or transfer
                                                                                                                or transferred
Members 1st FCU
Name of Financial Institution
                                                      XXXX-                            Checking                       03/20
                                                                                       Savings
Number      Street
                                                                                       Money market
                                                                                       Brokerage
                                                                                       Other

City                            State   ZIP Code

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository
    for securities, cash, or other valuables?

           No
           Yes. Fill in the details.

22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?
       No
       Yes. Fill in the details.




Official Form 107                          Statement of Financial Affairs for Individuals Filing for Bankruptcy                                   page 6

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Debtor 1       James Alfred Dale Buffington
Debtor 2       Susan Kay Buffington                                                    Case number (if known)

 Part 9:         Identify Property You Hold or Control for Someone Else
23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for,
    or hold in trust for someone.

           No
           Yes. Fill in the details.


 Part 10:        Give Details About Environmental Information
For the purpose of Part 10, the following definitions apply:

   Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
   hazardous or toxic substance, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
   including statutes or regulations controlling the cleanup of these substances, wastes, or material.
   Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or
   utilize it or used to own, operate, or utilize it, including disposal sites.

   Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
   substance, hazardous material, pollutant, contaminant, or similar item.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental
    law?

           No
           Yes. Fill in the details.
25. Have you notified any governmental unit of any release of hazardous material?
       No
       Yes. Fill in the details.

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and
    orders.

           No
           Yes. Fill in the details.




Official Form 107                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                         page 7

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Debtor 1          James Alfred Dale Buffington
Debtor 2          Susan Kay Buffington                                                            Case number (if known)

  Part 11:          Give Details About Your Business or Connections to Any Business
27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any
    business?

                   A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
                   A member of a limited liability company (LLC) or limited liability partnership (LLP)
                   A partner in a partnership
                   An officer, director, or managing executive of a corporation
                   An owner of at least 5% of the voting or equity securities of a corporation

              No. None of the above applies. Go to Part 12.
              Yes. Check all that apply above and fill in the details below for each business.

                                                    Describe the nature of the business                 Employer Identification number
DLD Associates                                                                                          Do not include Social Security number or ITIN.
Business Name
                                                                                                        EIN:           –
                                                    Name of accountant or bookkeeper
Number        Street
                                                                                                        Dates business existed

                                                                                                        From        2015         To    2015

City                         State   ZIP Code

28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include
    all financial institutions, creditors, or other parties.

              No
              Yes. Fill in the details below.

  Part 12:          Sign Below
I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury
that answers are true and correct. I understand that making a false statement, concealing property, or obtaining money or
property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years,
or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.




X /s/ James Alfred Dale Buffington                              X /s/ Susan Kay Buffington
       James Alfred Dale Buffington, Debtor 1                       Susan Kay Buffington, Debtor 2

       Date                                                         Date

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

       No
       Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?

       No
       Yes. Name of person                                                                              Attach the Bankruptcy Petition Preparer's Notice,
                                                                                                        Declaration, and Signature (Official Form 119).




Official Form 107                           Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 8

          Case 1:20-bk-02687-HWV                        Doc 1 Filed 09/09/20 Entered 09/09/20 16:23:13                                        Desc
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Notice Required by 11 U.S.C. § 342(b) for
Individuals Filing for Bankruptcy (Form 2010)



  This notice is for you if:
                                                                Chapter 7: Liquidation

     You are an individual filing for bankruptcy,
     and                                                               $245    filing fee
                                                                        $75    administrative fee
     Your debts are primarily consumer debts.                   +       $15    trustee surcharge
     Consumer debts are defined in 11 U.S.C. § 101(8)
                                                                       $335    total fee
     as "incurred by an individual primarily for a
     personal, family, or household purpose."
                                                                Chapter 7 is for individuals who have financial difficulty
                                                                preventing them from paying their debts and who are
                                                                willing to allow their non-exempt property to be used to
The types of bankruptcy that are available                      pay their creditors. The primary purpose of filing under
to individuals                                                  chapter 7 is to have your debts discharged. The
                                                                bankruptcy discharge relieves you after bankruptcy from
                                                                having to pay many of your pre-bankruptcy debts.
                                                                Exceptions exist for particular debts, and liens on
Individuals who meet the qualifications may file under one
                                                                property may still be enforced after discharge. For
of four different chapters of the Bankruptcy Code:
                                                                example, a creditor may have the right to foreclose a
                                                                home mortgage or repossess an automobile.
    Chapter 7 -- Liquidation
                                                                However, if the court finds that you have committed
    Chapter 11 -- Reorganization                                certain kinds of improper conduct described in the
                                                                Bankruptcy Code, the court may deny your discharge.
    Chapter 12 -- Voluntary repayment plan for family
                  farmers or fishermen                          You should know that the even if you file chapter 7 and
                                                                you receive a discharge, some debts are not discharged
                                                                under the law. Therefore, you may still be responsible to
    Chapter 13 -- Voluntary repayment plan for
                                                                pay:
                  individuals with regular income
                                                                     most taxes;
You should have an attorney review your                              most student loans;
decision to file for bankruptcy and the choice
of chapter.                                                          domestic support and property settlement obligations;




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                             page 1

     Case 1:20-bk-02687-HWV              Doc 1 Filed 09/09/20 Entered 09/09/20 16:23:13                         Desc
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    most fines, penalties, forfeitures, and criminal            for your state of residence and family size, depending
    restitution obligations; and                                on the results of the Means Test, the U.S. trustee,
                                                                bankruptcy administrator, or creditors can file a motion to
    certain debts that are not listed in your bankruptcy        dismiss your case under § 707(b) of the Bankruptcy
    papers.                                                     Code. If a motion is filed, the court will decide if your
                                                                case should be dismissed. To avoid dismissal, you may
You may also be required to pay debts arising from:             choose to proceed under another chapter of the
                                                                Bankruptcy Code.
    fraud or theft;
                                                                If you are an individual filing for chapter 7 bankruptcy, the
    fraud or defalcation while acting in breach of fiduciary
                                                                trustee may sell your property to pay your debts, subject
    capacity;
                                                                to your right to exempt the property or a portion of the
                                                                proceeds from the sale of the property. The property,
    intentional injuries that you inflicted; and
                                                                and the proceeds from property that your bankruptcy
    death or personal injury caused by operating a motor        trustee sells or liquidates that you are entitled to, is
    vehicle, vessel, or aircraft while intoxicated from         called exempt property. Exemptions may enable you to
    alcohol or drugs.                                           keep your home, a car, clothing, and household items or
                                                                to receive some of the proceeds if the property is sold.
If your debts are primarily consumer debts, the court can
dismiss your chapter 7 case if it finds that you have           Exemptions are not automatic. To exempt property, you
enough income to repay creditors a certain amount. You          must list it on Schedule C: The Property You Claim as
must file Chapter 7 Statement of Your Current Monthly           Exempt (Official Form 106C). If you do not list the
Income (Official Form 122A-1) if you are an individual filing   property, the trustee may sell it and pay all of the
for bankruptcy under chapter 7. This form will determine        proceeds to your creditors.
your current monthly income and compare whether your
income is more than the median income that applies in
your state.

If your income is not above the median for your state,
                                                                Chapter 11: Reorganization
you will not have to complete the other chapter 7 form,
the Chapter 7 Means Test Calculation (Official Form                  $1,167    filing fee
122A-2).                                                               $550    administrative fee
                                                                +
If your income is above the median for your state, you must          $1,717    total fee
file a second form--the Chapter 7 Means Test Calculation
(Official Form 122A-2). The calculations on the form--          Chapter 11 is often used for reorganizing a business, but
sometimes called the Means Test-- deduct from your              is also available to individuals. The provisions of chapter
income living expenses and payments on certain debts to         11 are too complicated to summarize briefly.
determine any amount available to pay unsecured
creditors. If your income is more than the median income




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                               page 2

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                                           Main Document    Page 67 of 74
        Read These Important Warnings

        Because bankruptcy can have serious long-term financial and legal consequences, including loss of
        your property, you should hire an attorney and carefully consider all of your options before you file.
        Only an attorney can give you legal advice about what can happen as a result of filing for bankruptcy
        and what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms
        properly and protect you, your family, your home, and your possessions.

        Although the law allows you to represent yourself in bankruptcy court, you should understand that
        many people find it difficult to represent themselves successfully. The rules are technical, and a
        mistake or inaction may harm you. If you file without an attorney, you are still responsible for
        knowing and following all of the legal requirements.

        You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the
        necessary documents.

        Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
        bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
        fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up
        to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                                                                Under chapter 13, you must file with the court a plan to
Chapter 12: Repayment plan for family farmers                   repay your creditors all or part of the money that you owe
            or fishermen                                        them, usually using your future earnings. If the court
                                                                approves your plan, the court will allow you to repay your
                                                                debts, as adjusted by the plan, within 3 years or 5 years,
        $200   filing fee                                       depending on your income and other factors.
+        $75   administrative fee
                                                                After you make all the payments under your plan, many
        $275   total fee
                                                                of your debts are discharged. The debts that are not
                                                                discharged and that you may still be responsible to pay
Similar to chapter 13, chapter 12 permits family farmers
                                                                include:
and fishermen to repay their debts over a period of time
using future earnings and to discharge some debts that
are not paid.                                                        domestic support obligations,
                                                                     most student loans,
                                                                     certain taxes,
Chapter 13: Repayment plan for individuals with
            regular income                                           debts for fraud or theft,
                                                                     debts for fraud or defalcation while acting in a
                                                                     fiduciary capacity,
          $235    filing fee
    +      $75    administrative fee
                                                                     most criminal fines and restitution obligations,
          $310    total fee
                                                                     certain debts that are not listed in your bankruptcy
                                                                     papers,
Chapter 13 is for individuals who have regular income
and would like to pay all or part of their debts in
                                                                     certain debts for acts that caused death or personal
installments over a period of time and to discharge
                                                                     injury, and
some debts that are not paid. You are eligible for
chapter 13 only if your debts are not more than certain
                                                                     certain long-term secured debts.
dollar amounts set forth in 11 U.S.C. § 109.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                 page 3

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                                                                A married couple may file a bankruptcy case together--
  Warning: File Your Forms on Time                              called a joint case. If you file a joint case and each
                                                                spouse lists the same mailing address on the
  Section 521(a)(1) of the Bankruptcy Code requires             bankruptcy petition, the bankruptcy court generally will
  that you promptly file detailed information about             mail you and your spouse one copy of each notice,
  your creditors, assets, liabilities, income, expenses         unless you file a statement with the court asking that
  and general financial condition. The court may                each spouse receive separate copies.
  dismiss your bankruptcy case if you do not file this
  information within the deadlines set by the
  Bankruptcy Code, the Bankruptcy Rules, and local
  rules of the court.                                           Understand which services you could
                                                                receive from credit counseling agencies
  For more information about the documents and
  their deadlines, go to:
                                                                The law generally requires that you receive a credit
  http://www.uscourts.gov/bkforms/bankruptcy_forms              counseling briefing from an approved credit counseling
  .html#procedure.                                              agency. 11 U.S.C. § 109(h). If you are filing a joint
                                                                case, both spouses must receive the briefing. With
                                                                limited exceptions, you must receive it within the 180
                                                                days before you file your bankruptcy petition. This
Bankruptcy crimes have serious                                  briefing is usually conducted by telephone or on the
consequences                                                    Internet.

    If you knowingly and fraudulently conceal assets or         In addition, after filing a bankruptcy case, you generally
    make a false oath or statement under penalty of             must complete a financial management instructional
    perjury--either orally or in writing--in connection with    course before you can receive a discharge. If you are
    a bankruptcy case, you may be fined, imprisoned, or         filing a joint case, both spouses must complete the
    both.                                                       course.

                                                                You can obtain the list of agencies approved to provide
    All information you supply in connection with a             both the briefing and the instructional course from:
    bankruptcy case is subject to examination by the
    Attorney General acting through the Office of the           http://justice.gov/ust/eo/hapcpa/ccde/cc_approved.html.
    U.S. Trustee, the Office of the U.S. Attorney, and
    other offices and employees of the U.S. Department          In Alabama and North Carolina, go to:
    of Justice.                                                 http://www.uscourts.gov/FederalCourts/Bankruptcy/Bankru
                                                                ptcyResources/ApprovedCreditAndDebtCounselors.aspx.

Make sure the court has your mailing
address                                                         If you do not have access to a computer, the clerk of the
                                                                bankruptcy court may be able to help you obtain the list.
The bankruptcy court sends notices to the mailing address
you list on Voluntary Petition for Individuals Filing for
Bankruptcy (Official Form 101). To ensure you receive
information about your case, Bankruptcy Rule 4002
requires that you notify the court of any changes in your
address.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                              page 4

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                                          UNITED STATES BANKRUPTCY COURT
                                          MIDDLE DISTRICT OF PENNSYLVANIA
                                                HARRISBURG DIVISION
  IN RE:   James Alfred Dale Buffington                                                   CASE NO
           Susan Kay Buffington
                                                                                         CHAPTER        13

            DISCLOSURE OF COMPENSATION UNDER 11 U.S.C. § 329 AND B.R. 2016(B)


                                                 Amount paid:
                       Amount to be paid through the plan:                 $4,000.00
                        Amount to be paid outside the plan:
                           Property transferred to attorney:      None
                                 Collateral held by attorney:     None
                                   Source of compensation: Current wages


    I certify that I am the attorney for the above named debtor, and that the compensation paid or agreed to be paid to me for
services rendered or to be rendered on behalf of the Debtor in or in connection with a case under Title 11 of the United States Code,
such payment or agreement having been made after one year before the date of filing of the petition, is as indicated above.

     I further certify that the Debtor has been informed and has agreed that the compensation paid shall include the following legal
services: (a) Post-petition conferences and communications with the Debtor; (b) Communications with creditors after the petition is
filed; (c) Attendance at 341 First Meeting and attendance at confirmation hearings; (d) Preparation of routine motions.

  Debtor's Counsel will record time spent on client's case and if the fees exceed the base fee, will file a fee application for
additional compensation based on counsel's current hourly rate. Debtor hereby consents to Counsel's fee applications.

    I have not agreed to share this compensation with any person other than members of the firm.


Date                                                                         /s/ James Alfred Dale Buffington
                                                                            James Alfred Dale Buffington



 /s/ Dorothy L Mott, Esquire                                                 /s/ Susan Kay Buffington
Dorothy L Mott, Esquire                  Bar No. 43568                      Susan Kay Buffington
Dorothy L. Mott, Attorney at Law
125 State Street
Harrisburg, PA 17101
Phone: (717) 232-6650 / Fax: (717) 232-0477




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 Fill in this information to identify your case:                                             Check as directed in lines 17 and 21:

 Debtor 1           James                   Alfred Dale           Buffington                 According to the calculations required by this
                    First Name              Middle Name           Last Name                  Statement:

 Debtor 2            Susan                  Kay                   Buffington                    1. Disposable income is not determined
 (Spouse, if filing) First Name             Middle Name           Last Name                        under 11 U.S.C. § 1325(b)(3).
                                                                                                2. Disposable income is determined
 United States Bankruptcy Court for the: MIDDLE DIST. OF PENNSYLVANIA                              under 11 U.S.C. § 1325(b)(3).

 Case number                                                                                    3. The commitment period is 3 years.
 (if known)                                                                                     4. The commitment period is 5 years.


                                                                                                 Check if this is an amended filing
Official Form 122C-1
Chapter 13 Statement of Your Current Monthly Income
and Calculation of Commitment Period                                                                                                          04/20
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being
accurate. If more space is needed, attach a separate sheet to this form. Include the line number to which the additional
information applies. On the top of any additional pages, write your name and case number (if known).


 Part 1:       Calculate Your Average Monthly Income

1.   What is your marital and filing status? Check one only.

          Not married. Fill out Column A, lines 2-11.

          Married. Fill out both Columns A and B, lines 2-11.

     Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this
     bankruptcy case. 11 U.S.C. § 101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through
     August 31. If the amount of your monthly income varied during the 6 months, add the income for all 6 months and divide the total by 6. Fill
     in the result. Do not include any income amount more than once. For example, if both spouses own the same rental property, put the
     income from that property in one column only. If you have nothing to report for any line, write $0 in the space.


                                                                                            Column A        Column B
                                                                                            Debtor 1        Debtor 2 or
                                                                                                            non-filing spouse

2.   Your gross wages, salary, tips, bonuses, overtime, and commissions                           $0.00                $0.00
     (before all payroll deductions).
3.   Alimony and maintenance payments. Do not include payments from a spouse.                     $0.00                $0.00

4.   All amounts from any source which are regularly paid for household                           $0.00                $0.00
     expenses of you or your dependents, including child support. Include
     regular contributions from an unmarried partner, members of your household,
     your dependents, parents, and roommates. Do not include payments from a
     spouse. Do not include payments you listed on line 3.

5.   Net income from operating a business, profession, or farm

                                               Debtor 1           Debtor 2
     Gross receipts (before all                       $0.00               $0.00
     deductions)
     Ordinary and necessary operating      –          $0.00   –           $0.00
     expenses                                                                     Copy
     Net monthly income from a business,              $0.00               $0.00 here              $0.00                $0.00
     profession, or farm




Official Form 122C-1              Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                    page 1
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Debtor 1         James Alfred Dale Buffington
Debtor 2         Susan Kay Buffington                                                                                                Case number (if known)

                                                                                                                                          Column A       Column B
                                                                                                                                          Debtor 1       Debtor 2 or
                                                                                                                                                         non-filing spouse

6.    Net income from rental and other real property

                                                               Debtor 1                       Debtor 2
      Gross receipts (before all                                            $0.00                          $0.00
      deductions)
      Ordinary and necessary operating                     –                $0.00         –                $0.00
      expenses                                                                                                          Copy
      Net monthly income from rental or                                     $0.00                          $0.00 here                            $0.00            $0.00
      other real property

7.    Interest, dividends, and royalties                                                                                                         $0.00            $0.00
8.    Unemployment compensation                                                                                                                  $0.00            $0.00
      Do not enter the amount if you contend that the amount received was a
      benefit under the Social Security Act. Instead, list it here: ...............................................
                                                                                                               $0.00
          For you............................................................................................................................
                                                                                                          $0.00
          For your spouse..............................................................................................................
9.    Pension or retirement income. Do not include any amount received that                                                                      $0.00            $0.00
      was a benefit under the Social Security Act. Also, except as stated in the
      next sentence, do not include any compensation, pension, pay, annuity, or
      allowance paid by the United States Government in connection with a
      disability, combat-related injury or disability, or death of a member of the
      uniformed services. If you received any retired pay paid under chapter 61
      of title 10, then include that pay only to extent that it does not exceed the
      amount of retired pay to which you would otherwise be entitled if retired
      under any provision of title 10 other than chapter 61 of that title.

10. Income from all other sources not listed above. Specify the source and
    amount. Do not include any benefits received under the Social Security Act;
    payments made under the Federal law relating to the national emergency
    declared by the President under the National Emergencies Act
    (50 U.S.C. 1601 et seq.) with respect to the coronavirus disease 2019
    (COVID-19); payments received as a victim of a war crime, a crime against
    humanity, or international or domestic terrorism; or compensation, pension,
    pay, annuity, or allowance paid by the United States Government in
    connection with a disability, combat-related injury or disability, or death of a
    member of the uniformed services. If necessary, list other sources on a
    separate page and put the total below.

      SNAP                                                                                                                                      $79.00


      Total amounts from separate pages, if any.                                                                                   +                     +
11. Calculate your total average monthly income.
    Add lines 2 through 10 for each column.                                                                                                     $79.00   +        $0.00   =        $79.00
    Then add the total for Column A to the total for Column B.
                                                                                                                                                                             Total average
                                                                                                                                                                             monthly income

  Part 2:           Determine How to Measure Your Deductions from Income
                                                                                                                                                                               $79.00
12. Copy your total average monthly income from line 11. ..............................................................................................................................................




Official Form 122C-1                       Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                                                   page 2
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Debtor 1        James Alfred Dale Buffington
Debtor 2        Susan Kay Buffington                                                                                                   Case number (if known)

13. Calculate the marital adjustment. Check one:
           You are not married. Fill in 0 below.
           You are married and your spouse is filing with you. Fill in 0 below.
           You are married and your spouse is not filing with you.
           Fill in the amount of the income listed in line 11, Column B, that was NOT regularly paid for the household expenses
           of you or your dependents, such as payment of the spouse's tax liability or the spouse's support of someone other
           than you or your dependents.
           Below, specify the basis for excluding this income and the amount of income devoted to each purpose. If
           necessary, list additional adjustments on a separate page.

           If this adjustment does not apply, enter 0 below.




                                                                                                                     +
           Total......................................................................................................................      $0.00           Copy here                                –                 $0.00

14. Your current monthly income. Subtract the total in line 13 from line 12.                                                                                                                                        $79.00

15. Calculate your current monthly income for the year. Follow these steps:

    15a.     Copy line 14 here                                                                                                                                                                                       $79.00
                                                  ...................................................................................................................................................................................

             Multiply line 15a by 12 (the number of months in a year).                                                                                                                                    X         12

    15b.                                                                                                                                                                $948.00
             The result is your current monthly income for the year for this part of the form. .......................................................................................

16. Calculate the median family income that applies to you. Follow these steps:

    16a.     Fill in the state in which you live.                                                      Pennsylvania

    16b.     Fill in the number of people in your household.                                                       3

    16c.                                                                                                                                                              $83,868.00
             Fill in the median family income for your state and size of household......................................................................................................................
             To find a list of applicable median income amounts, go online using the link specified in the separate
             instructions for this form. This list may also be available at the bankruptcy clerk's office.

17. How do the lines compare?

    17a.             Line 15b is less than or equal to line 16c. On the top of page 1 of this form, check box 1, Disposable income is not determined
                     under 11 U.S.C. § 1325(b)(3). Go to Part 3. Do NOT fill out Calculation of Your Disposable Income (Official Form 122C-2).
    17b.             Line 15b is more than line 16c. On the top of page 1 of this form, check box 2, Disposable income is determined under
                     11 U.S.C. § 1325(b)(3). Go to Part 3 and fill out Calculation of Your Disposable Income (Official Form 122C-2).
                     On line 39 of that form, copy your current monthly income from line 14 above.


 Part 3:          Calculate Your Commitment Period Under 11 U.S.C. § 1325(b)(4)

18. Copy your total average monthly income from line 11.                                                                                                                                                             $79.00
                                                                                                  ..............................................................................................................................................

19. Deduct the marital adjustment if it applies. If you are married, your spouse is not filing with you, and you contend
    that calculating the commitment period under 11 U.S.C. § 1325(b)(4) allows you to deduct part of your spouse's
    income, copy the amount from line 13.

    19a.                                                                                                                                                              –                $0.00
             If the marital adjustment does not apply, fill in 0 on line 19a. .......................................................................................................................

    19b.     Subtract line 19a from line 18.                                                                                                                                                                        $79.00




Official Form 122C-1                      Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                                                                                       page 3
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Debtor 2       Susan Kay Buffington                                                                                          Case number (if known)

20. Calculate your current monthly income for the year. Follow these steps:
    20a.                                                                                                                                                                                                  $79.00
            Copy line 19b ...................................................................................................................................................................................
            Multiply by 12 (the number of months in a year).                                                                                                                              X         12
    20b.    The result is your current monthly income for the year for this part of the form.                                                                                                     $948.00

    20c.                                                                                                                                                 $83,868.00
            Copy the median family income for your state and size of household from line 16c. ..........................................................................................................

21. How do the lines compare?
           Line 20b is less than line 20c. Unless otherwise ordered by the court, on the top of page 1 of this form,
           check box 3, The commitment period is 3 years. Go to Part 4.
           Line 20b is more than or equal to line 20c. Unless otherwise ordered by the court, on the top of page 1
           of this form, check box 4, The commitment period is 5 years. Go to Part 4.

 Part 4:        Sign Below

    By signing here, under penalty of perjury I declare that the information on this statement and in any attachments is true and correct.



    X   /s/ James Alfred Dale Buffington                                                                   X    /s/ Susan Kay Buffington
        James Alfred Dale Buffington, Debtor 1                                                                  Susan Kay Buffington, Debtor 2

        Date                                                                                                    Date
                MM / DD / YYYY                                                                                            MM / DD / YYYY

    If you checked 17a, do NOT fill out or file Form 122C-2.

    If you checked 17b, fill out Form 122C-2 and file it with this form. On line 39 of that form, copy your current monthly income from line 14 above.




Official Form 122C-1                   Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                                                                         page 4
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